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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF ALABAMA
                              NORTHERN DIVISION

ROBERT EARL COUNCIL AKA             )
KINETIK JUSTICE, et al.,            )
                                    )
      Plaintiffs,                   )
                                    )
v.                                  )       CASE NO.: 2:23-CV-00712-CLM-JTA
                                    )
KAY IVEY, et al.,                   )
                                    )
      Defendants.                   )


                    RESPONSE IN OPPOSITION TO PLAINTIFFS’
                     MOTION FOR PRELIMINARY INJUNCTION
                    OF DEFENDANTS GOVERNOR KAY IVEY AND
                     ATTORNEY GENERAL STEVE MARSHALL


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                                             Introduction
        Six Plaintiffs in the Alabama Department of Corrections’ custody who have been denied

parole seek a preliminary injunction against Governor Kay Ivey, Attorney General Steve Marshall,

and the three members of the Alabama Board of Pardons and Parole. They claim that changes made

to the state’s parole system in 2019 retroactively increased their punishment in violation of the Ex

Post Facto Clause, and that these same changes intentionally discriminate against them on the

basis of race in violation of the Equal Protection Clause. But Plaintiffs come nowhere near meeting

their burden for a preliminary injunction.

        Plaintiffs’ disagreement lies primarily in the way the Board is interpreting and applying

state law. Plaintiffs argue the Board attributes less weight to objective factors, such as actuarial

risk assessments, when making parole decisions and over-emphasizes public safety and the

severity of the crime. But federal courts lack jurisdiction to order state officials to follow state law.

Since Plaintiffs’ federal constitutional claims are really premised on a violation of state law, their

claims are barred by sovereign immunity. Governor Ivey and Attorney General Marshall are

entitled to sovereign immunity for the additional reason that they do not make the parole decisions

that Plaintiffs challenge—rather, parole decisions lie solely within the discretion of the Board.

        Even if the Court were to reach the merits of Plaintiffs’ constitutional challenges, they fail

to show a substantial likelihood of success on the merits. Plaintiffs’ ex post facto challenge fails

because they cannot show the 2019 parole changes retroactively increased their punishment. Both

at the time Plaintiffs committed their offenses and after the 2019 changes, the decision to grant

parole was at the complete discretion of the Board. The Board’s modifications to its advisory and

non-binding guidelines do not arise to the level of increased punishment. As to Plaintiffs’ race

discrimination claim, they make no attempt to show they were treated differently than similarly-

situated white inmates. Instead, they rely solely on statistics purporting to show racial disparities


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in parole outcomes. But these statistics prove nothing because they do not compare parole

outcomes for similarly-situated inmates. Since parole decisions are highly individualized and

consider a number of factors such as the nature of the crime, disciplinary history while in custody,

and victim input, comparing parole grant rates based solely on race fails to prove intentional race

discrimination in parole decisions generally or as to Plaintiffs specifically.

       For all of these reasons, Plaintiffs’ Motion for Preliminary Injunction (doc. 23) and The

Woods Foundations’ Motion for Joinder (doc. 44) should be denied.

                                                Facts
       Plaintiffs Lee Edward Moore Jr. (“Moore”), Jerame Aprentice Cole (“Cole”), Frederick

Denard McDole (“McDole”), Michael Campbell (“Campbell”), Arthur Charles Ptomey Jr.

(“Ptomey”), and Almireo English (“English”) (collectively “Plaintiffs”) are all in the custody of

the Alabama Department of Corrections (“ADOC”). Plaintiffs have all been denied parole and

have future parole considerations scheduled in the coming years. Plaintiffs allege that Defendants

Governor Kay Ivey (“Ivey”), Attorney General Steve Marshall (“Marshall”), Alabama Board of

Pardons and Paroles Chair Leigh Gwathney, and Associate Parole Board members Darryl Littleton

and Gabrelle Simmons (collectively “the Board”) are violating the Ex Post Facto and Equal

Protection Clauses of the United States Constitution in the administration of the parole system. In

addition to the individual Plaintiffs, organizational Plaintiff The Woods Foundation (“TWF”) also

seeks a preliminary injunction on the grounds that opposing Defendants’ parole practices has

caused it to divert resources. (Doc. 44). Plaintiffs seek an injunction imposing various requirements

on Defendants in the administration of parole.

A.     The Individual Plaintiffs.

       Since Plaintiffs raise an ex post facto claim, the date of their offenses is relevant to whether

application of alleged 2019 changes to parole consideration retroactively increased their


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punishment. While Plaintiffs have submitted incarceration details obtained from ADOC’s website

that contain the dates of their offenses (docs. 24-16 to 24-21), Defendants submit ADOC

classification summaries for Plaintiffs for the limited purpose of establishing Plaintiffs’ offense

dates and disciplinary history while in ADOC custody. (See Exhibit 1).

       Plaintiff Moore was sentenced to 50 years in prison for a 1994 murder charge and began

serving his sentence in 1997. (Doc. 24-20 at 3). Moore’s parole was last denied in December 2022,

and his next parole consideration will be December 2027. (Doc. 25-4 ¶ 9). Marshall objected to

Moore receiving parole prior to the December 2022 hearing. (Doc. 25-4 ¶ 8; Exhibit 2 at 2).

Marshall objected to parole “due to the violent nature” of Moore’s crime, namely “beating and

killing sixteen month old Shaquinta Witherspoon.” (Exhibit 2). Marshall also stated Moore had

not served enough of his sentence and noted “Moore has incurred twenty-two disciplinary

infractions” while in ADOC custody. (See id.; see also Exhibit 1 at 39-46).

       Plaintiff Cole was sentenced to 20 years for a 2007 first degree robbery charge and began

serving his sentence in 2008. (Doc. 24-17 at 3). Cole has been denied parole four times with his

last denial occurring August 8, 2023. (Doc. 25-5 ¶¶ 2, 5). Marshall objected to parole prior to this

hearing due to the violent nature of his crime and for incurring thirty-three disciplinary infractions

since being incarcerated. (Exhibit 2 at 3).

       Plaintiff McDole was sentenced to 21 years for a 2008 first degree assault charge and began

serving his sentence in 2009. (Doc. 24-19 at 3; Exhibit 1 at 33). McDole’s parole was denied in

2018 and again on March 23, 2022. (Doc. 25-2 ¶¶ 12-13). His parole will be considered again in

2027. (Id. ¶ 13). Then-Attorney General Luther Strange objected to McDole receiving parole in

2017, and Marshall objected again in March 2022. (Exhibit 2 at 4, 5). Both letters objected on the




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basis of McDole’s conviction for a violent offense, but Marshall’s 2022 letter noted McDole had

incurred an infraction for possession of drugs while in ADOC custody. (Exhibit 2 at 4).

        Plaintiff Campbell was sentenced for multiple offenses in 2002 but was released on parole

in 2012. (Doc. 25-1 ¶¶ 2-3). Campbell committed a new offense while on parole, and his parole

was revoked in 2017. (Id. ¶ 3). Campbell is currently serving the remainder of his 30-year 2003

sentence for distribution of a controlled substance. (Id. ¶ 2; Doc. 24-16 at 4-5). Campbell’s parole

was denied in 2020 and again on July 12, 2023. (Doc. 25-1 ¶¶ 10-11). Campbell is not currently

serving a sentence for a crime of violence, and Marshall did not object to him receiving parole.

(Doc. 23-1 at 28, 32).

        Plaintiff Ptomey was sentenced in 2007 to 22 years for first degree robbery and third-degree

burglary and began serving his sentence that same year. (Doc. 24-21 at 3-4). Ptomey’s parole was

denied in 2017, and his next reconsideration was set for 2019. (Doc. 25 ¶ 3). In 2019, the Board

changed Ptomey’s reconsideration date from 2019 to 2022. (Id. ¶ 6). The Board denied Ptomey’s

parole in September 2022. (Id. ¶ 7). Marshall objected to Ptomey receiving parole in 2022 due to

the violent nature of his crimes and for incurring eleven disciplinary infractions while incarcerated.

(Exhibit 2 at 6).

        Plaintiff English was sentenced for a 2010 drug trafficking charge in 2012 and began

serving a twelve year, five month sentence in 2012. (Doc. 24-18 at 3). The Board granted English

parole, but his parole was revoked in October 2020 after he was charged with a new offense. (Doc.

25-3 ¶ 2). The Board denied English parole on November 28, 2023. (Id. ¶ 8). Marshall objected to

English receiving parole due to the violent nature of his crime, the fact that English was previously

granted parole but had it revoked, and that he had committed twelve disciplinary infractions while

in custody. (Exhibit 2 at 7).




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         All Plaintiffs committed their offenses and were sentenced between 1993 at the earliest and

2012 at the latest. Relevant to Plaintiffs’ ex post fact claim, Plaintiffs’ crimes predate the enactment

of both the 2015 Justice Reinvestment Act (“JRA”) and the 2019 parole amendments. When

Plaintiffs committed the crimes for which they are now incarcerated, parole was governed by a

1951 law that remained in effect until the 2015 JRA. See 1951 Ala. Laws Act No. 1951-599.

         The general tenor of Plaintiffs’ declarations is the same. Plaintiffs are classified in various

forms of minimum custody in ADOC and have participated in different programs and forms of

work release. (See doc. 25 ¶¶ 4, 7; doc. 25-1 ¶¶ 4-8; doc. 25-2 ¶¶ 3-11; doc. 25-3 ¶¶ 3-7; doc. 25-

4 ¶¶ 4-7; doc. 25-5- ¶¶ 3-5). Plaintiffs argue these facts provide “evidence of eligibility for parole,”

doc. 23-1 at 30, even though the Board’s statute expressly states its parole eligibility guidelines

“shall not create a right or expectation by a prisoner to parole release,” and that “the decision

concerning parole release shall be at the complete discretion of the board.” Ala. Code § 15-22-

26(c).

         The five Plaintiffs convicted of crimes of violence as defined in Alabama Code § 12-25-

32(15) note that Marshall objected to them receiving parole. (Doc. 23-1 at 28 n.14; id. at 32).

Marshall did not object to Campbell’s parole—the only Plaintiff who is not serving a sentence for

a crime of violence. (Id.). Plaintiffs omit from their declarations that they have all committed

disciplinary infractions while in custody. (See Exhibit 1 at 6, 14-17, 24-25, 34, 41-42, 51). And

while they provide sample parole objection letters from Marshall as to other inmates (doc. 24-22),

they fail to provide Marshall’s objection letters as to themselves. (See Exhibit 2). Marshall’s letters

reflect that he objected to parole for Plaintiffs English, McDole, Ptomey, Moore, and Cole because

(1) they had committed crimes of violence, (2) they had not served enough of their sentences, and

(3) they had committed disciplinary infractions while in custody. (Exhibit 2 at 2-7). In the case of




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English, Marshall’s letter also noted English was previously granted parole but had it revoked.

(Exhibit 2 at 7). In the case of Plaintiff McDole, prior Attorney General Luther Strange objected

to parole on similar terms. (Exhibit 2 at 5). These letters reveal a consistent and race-neutral policy

of objecting to parole on behalf of crime victims based on the severity of the offense and the

institutional behavior of the inmates—factors that the Board considers when deciding parole. See

Ala. Code § 15-22-26(a)(3), (5), (6).

        As to Governor Ivey, Plaintiffs allege no act or omission by Ivey with respect to any of

their cases.

B.      Alabama Law on Parole and the Role of the Governor, Attorney General, and the
        Board.

        The parole Board consists of three members appointed by the Governor from a list of

nominees, subject to confirmation by the Alabama Senate, one of whom the Governor designates

as chair. Ala. Code § 15-22-20(a), (b), (d). Once appointed, the Board members serve six-year

terms and can be removed by impeachment. Id. Only the Board has the power to grant or deny

parole, not the Governor or Attorney General. See Ala. Code § 15-22-24(a)(1) (stating that the

“Board of Pardons and Paroles shall be charged with all of the following: (1) Determining which

prisoners serving sentences in the jails and prisons of the State of Alabama may be released on

parole and when and under what conditions.”); Ala. Code § 15-22-26(c) (stating that “the decision

concerning parole release shall be at the complete discretion of the board.”). With respect to the

length of reset dates between parole considerations, only the Board has authority to set reset dates.

See Ala. Code § 15-22-37(b)(4); Ala. Admin Code r. 640-X-3-.03.

        With respect to granting or denying parole, Ivey’s role, as Governor, is limited to

appointing Board members, subject to confirmation by the State Senate, but she has no authority

to order the Board to grant or deny parole or to set reset dates. See Ala. Code § 15-22-20(a), (b),



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(d). Though the Governor at one time had exclusive constitutional authority over pardons and

paroles, after a 1939 constitutional amendment, the Alabama Legislature may now “provide for

and regulate the administration of” pardons and paroles. Ala. CONST. Art. V, sec. 124; see also In

re Upshaw, 23 So. 2d 861, 863-64 (Ala. 1945). While Ivey also appoints a Director of Pardons and

Paroles, the Director possesses purely administrative powers. See Ala. Code § 15-22-21(a); id. §

15-22-21(b) (stating the Director is “vested with all power necessary to perform the duties assigned

to the board except the board’s power to adopt rules, guidelines, or other policies and to make

individual determinations concerning the grant or denial of pardons, the grant or denial of paroles,

the restorations of political and civil rights, the remission of fines and forfeitures, and the

revocation of parole.”) (emphasis added).

       Marshall’s role, as Attorney General, is limited to receiving notice of parole hearings and

representing victims before the Board. See Ala. Code §§ 15-22-23(b)(2)(a.); 15-22-36(d).

Marshall’s role before the Board is an extension of his general duty to advocate for crime victims.

See, e.g., Ala. Code §§ 15-23-83 (“The Attorney General or district attorney may assert any right

to which the victim is entitled.”); 15-20A-41(c) (imposing a duty on the Attorney General to notify

victims of the pending release of a sex offender); 13A-6-157.1(b) (authorizing Attorney General

to file civil action on behalf of the state to recover damages for victims of human trafficking).

       The 2019 amendments changed the length of time an inmate must serve before receiving

initial consideration, but also provided a procedure for the Board to apply its prior calculations for

initial consideration under certain circumstances. See Ala. Code § 15-22-28(f)(1). When the Board

invokes this procedure, it is subject to legal review and veto by the Attorney General or Governor.

See Ala. Code § 15-22-28(f)(2), (f)(4). But the statute is clear that, aside from this narrow




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circumstance not at issue in this lawsuit, neither the Governor nor Attorney General have the power

to make parole decisions. That power resides exclusively with the Board.

       Plaintiffs’ ex post facto and equal protection challenges are premised on changes that

occurred from the time of the 2015 JRA to changes that occurred after the 2019 amendments to

the parole statute. (Doc. 23-1 at 13-32). Plaintiffs complain that after 2019, the Board placed less

weight on actuarial risk assessment scores and denied parole more frequently, particularly for

violent offenders. (Id. at 19-21). But neither the 2015 nor the 2019 statutes were in effect at the

time Plaintiffs committed their offenses. Instead, Plaintiffs expectations for parole were governed

by the 1951 statute in effect at the time they committed their offense.

       Under the 1951 statute, the Board’s parole decisions were based on the following standard:

               No prisoner shall be released on parole merely as a reward for good
               conduct or efficient performance of duties assigned in prison, but
               only if the board is of opinion that there is reasonable probability
               that, if such prisoner is released, he will live and remain at liberty
               without violating the law, and that his release is not incompatible
               with the welfare of society.

1951 Ala. Laws Act No. 1951-599 § 7. The 1951 statute did not require the Board to adopt

guidelines based on certain factors or to use risk assessments, but instead left parole decisions to

the complete discretion of the Board. In 2015, the JRA amended the parole statute to require the

Board to adopt guidelines to “serve as an aid in the parole decision process,” which must include

consideration of six statutory factors. 2015 Ala. Laws Act No. 2015-185 p. 78 (codified at Ala.

Code § 15-22-26(a)). However, like the 1951 statute, the 2015 statute expressly stated the

guidelines were advisory only and that the Board retained complete discretion over parole

decisions:

               The use of established guidelines for parole consideration shall not
               create a right or expectation by a prisoner to parole release.
               Additionally, the articulated reasons for denial of parole release shall



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               not create a right or expectation for parole release. The guidelines
               shall serve as an aid in the parole decision making process, and the
               decision concerning parole release shall be at the complete
               discretion of the board.

2015 Ala. Laws Act No. 2015-185 pp. 79-80 (codified at Ala. Code § 15-22-26(c)).

       While Plaintiffs make much of the 2019 amendments, the only change made to the 2015

standard for parole was to add that the Board was “to determine a prisoner’s fitness for parole and

to ensure public safety,” and to add that the guidelines were to “promote the use of prison space

for the most violent and greatest offenders, while recognizing that the board’s paramount duty is

to protect public safety.” 2019 Ala. Laws Act No. 2019-393 p. 9 (codified at Ala. Code § 15-22-

26(a)). All other features governing the Board’s consideration of parole remained the same,

including the Board’s “complete discretion” over the ultimate decision. Ala. Code § 15-22-26(c).

                                          Legal Standard
       “A preliminary injunction is an ‘extraordinary remedy never awarded as of right.’” Brown

v. Sec’y, U.S. Dep’t of Health & Human Servs., 4 F.4th 1220, 1224 (11th Cir. 2021) (quoting Winter

v. Nat. Res. Def. Council, 555 U.S. 7, 24 (2008)). “Indeed, the grant of a preliminary injunction is

‘the exception rather than the rule.’” Id. (quoting United States v. Lambert, 695 F.2d 536, 539 (11th

Cir. 1983)). Thus, “[t]he preliminary injunction is an extraordinary and drastic remedy not to be

granted until the movant clearly carries the burden of persuasion as to the four prerequisites. The

burden of persuasion in all of the four requirements is at all times upon the plaintiff.” Ne. Fla.

Chapter of Ass’n of Gen. Contractors of Am. v. City of Jacksonville, 896 F.2d 1283, 1286 (11th

Cir. 1990) (quotations omitted).

       Those four prerequisites that a movant must show to obtain a preliminary injunction are:

“(1) a substantial likelihood of success on the merits; (2) a likelihood of suffering irreparable harm

without a preliminary injunction; (3) that the threatened injury to the party outweighs any harm



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that might result to the defendants; and (4) that an injunction is not adverse to the public interest.”

Brown, 4 F.4th at 1224. Where a government entity is involved, “‘its interest and harm merge with

the public interest,’ so [a court] may consider the third and fourth factors together.” Id. (quoting

Swain v. Junior, 958 F.3d 1081, 1091 (11th Cir. 2020)).

       Where, as here, a preliminary injunction is sought to change the status quo and force

another party to act, it becomes a “mandatory or affirmative injunction” and the burden on the

moving party increases. Exhibitors Poster Exch. v. Nat’l Screen Serv. Corp., 441 F.2d 560, 561

(5th Cir. 1971).1 Thus, a mandatory injunction “‘should not be granted except in rare instances in

which the facts and law are clearly in favor of the moving party.’” Id. (quoting Miami Beach Fed.

Sav. & Loan Ass’n v. Callander, 256 F.2d 410, 415 (5th Cir. 1958)); see also Martinez v. Mathews,

544 F.2d 1233, 1243 (5th Cir. 1976) (“Mandatory preliminary relief, which goes well beyond

simply maintaining the status quo pendente lite, is particularly disfavored, and should not be issued

unless the facts and law clearly favor the moving party.”).

                                             Argument
A.     Plaintiffs Fail to Carry Their Burden of Proving a Substantial Likelihood of Success
       on the Merits of Their Ex Post Facto and Equal Protection Claims.

       1.      Since Plaintiffs’ Request for Relief is Based on a Violation of State Law,
               Plaintiffs’ Claims Are Barred by Sovereign Immunity Under Pennhurst.

       The Eleventh Amendment to the United States Constitution provides that “[t]he Judicial

power of the United States shall not be construed to extend to any suit in law or equity, commenced

or prosecuted against one of the United States by Citizens of another State, or by Citizens or

Subjects of any Foreign State.” U.S. CONST. amend. XI. Under this amendment, “it is established



1
 In Bonner v. City of Prichard, Ala., 661 F.2d 1206, 1207 (11th Cir. 1981), the Eleventh Circuit
held that the decisions of the Fifth Circuit handed down by the close of business on September 30,
1981 constitute binding precedent for the Eleventh Circuit.


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that an unconsenting State is immune from suits brought in federal courts by her own citizens as

well as by citizens of another State.” Emps. of Dep’t of Pub. Health & Welfare, Mo. v. Dep’t of

Pub. Health & Welfare, Mo., 411 U.S. 279, 280 (1973). “The Eleventh Amendment bars a suit

against state officials when the state is the real, substantial party in interest.” Pennhurst State Sch.

&                            Hosp.                            v.                           Halderman,

465 U.S. 89, 101 (1984) (internal quotation and citation omitted). “And, as when the State itself is

named as the defendant, a suit against state officials that is in fact a suit against a State is barred

regardless of whether it seeks damages or injunctive relief.” Id. at 101-02.

        There is a limited exception to the general rule of sovereign immunity for suits against

State officials recognized in Ex parte Young, 209 U.S. 123 (1908). “In Ex parte Young, the Supreme

Court carved out a narrow exception to the States’ sovereign immunity when it held that the

Eleventh Amendment does not prevent federal courts from granting prospective injunctive relief

to prevent a continuing violation of federal law.” Nat’l Ass’n of Bds. of Pharmacy v. Bd. of Regents

of the Univ. Sys. of Ga., 633 F.3d 1297, 1308 (11th Cir. 2011). The theory of Ex parte Young “was

that an unconstitutional enactment is ‘void’ and therefore does not ‘impart to [the officer] any

immunity from responsibility to the supreme authority of the United States.’” Pennhurst, 465 U.S.

at 102 (quoting Ex parte Young, 209 U.S. at 160). As this language implies, “the Young doctrine

rests on the need to promote the vindication of federal rights.” Id. at 105.

        But Young’s rationale “disappears” when “a plaintiff alleges that a state official has violated

state law.” Pennhurst, 465 U.S. at 106. A federal court’s grant of relief on state law grounds “does

not vindicate the supreme authority of federal law.” “On the contrary, it is difficult to think of a

greater intrusion on state sovereignty than when a federal court instructs state officials on how to

conform their conduct to state law.” Id. (emphasis added). Since Eleventh Amendment immunity




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is a limitation on federal courts’ jurisdiction, “federal courts lack[] jurisdiction to enjoin . . . state

officials on the basis of . . . state law.” Id. at 124.

        Plaintiffs purport to assert official-capacity claims against Ivey, Marshall, and the Board

under the Ex parte Young exception to sovereign immunity based on alleged violations of federal

law, namely the Ex Post Facto and Equal Protection Clauses of the United States Constitution.

(See doc. 23-1 at 33-45). But Plaintiffs’ characterization of their claims as based on violations of

federal law is not dispositive. In determining whether a purported federal claim is actually a claim

that state officials are violating state law, a court looks to the “gravamen” of the complaint and

whether the request for relief is based on a violation of state, rather than federal law. See S&M

Brands, Inc. v. Georgia ex rel. Carr, 925 F.3d 1198, at 1204-05 (11th Cir. 2019); Waldman v.

Conway, 871 F.3d 1283, 1290 (11th Cir. 2017) (holding purported federal challenge based on state

prison officials’ failure to follow classification manual “is not a procedural due process

challenge—it is a claim that state officials violated state law in carrying out their official

responsibilities” barred under Pennhurst); DeKalb Cnty. Sch. Dist. v. Schrenko, 109 F.3d 680, 688

(11th Cir. 1997). The standard for whether a claim is state or federal for purposes of Pennhurst is

“when the claim of entitlement to relief is based on a violation of state law, sovereign immunity

applies.” S&M Brands, 925 F.3d at 1204. “And conclusory allegations that the same conduct that

violates state law also violates the U.S. Constitution will not boost the claim over the sovereign-

immunity bar.” Id. (emphasis added).

        In S&M Brands, a tobacco producer argued the Georgia Attorney General’s refusal to

release escrow funds as required by state law coerced it to give up its First Amendment rights and

was a Fifth Amendment taking. 925 F.3d at 1204-05. While the tobacco producer argued its

complaint was based on a violation of federal law, the Court stated:




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                We don’t buy it. Here, as in Schrenko, the obligation to release (or
                reimburse) funds comes from state law. The proper release amount
                is determined by state law. Accordingly, the “gravamen of [the]
                complaint appears to be that the State has improperly interpreted and
                failed to adhere to a state statute,” and Pennhurst bars such claims.
                [Schrenko] at 688. We affirm the dismissal of S&M’s state-law
                claim.

Id. at 1205. S&M Brands relied on Schrenko, which looked to “the gravamen” of the complaint to

determine that purported Fourteenth Amendment and federal statutory law claims by a school

district were state law claims barred by Pennhurst because they “necessarily relied on a

determination that state officials had not complied with state law.” S&M Brands, Inc., 925 F.3d at

1204 (citing Schrenko, 109 F.3d at 690).

        Here, Plaintiffs’ ex post facto and equal protection claims “necessarily rel[y] on a

determination that state officials [have] not complied with state law.” S&M Brands, Inc., 925 F.3d

at 1204. Plaintiffs’ ex post facto and equal protection arguments are premised entirely on

Defendants’ alleged failure to follow state law, and the remedies they request are for Defendants

to follow Plaintiffs’ preferred interpretation of state law.

        First, Defendants’ alleged violations of federal constitutional rights are simply complaints

that they are not following Plaintiffs’ preferred interpretation of state law. The supposed ex post

facto “policy” of the Board is the decision “to abandon both structured and evidence-based parole

decision-making informed and guided by utilization of ORAS (the validated risk assessment tool

selected by Alabama),” a decreased rate of conformance by the Board to its own guidelines, and

the increased rate of parole denial for inmates convicted of violent offenses. (See doc. 23-1 at 35-

37). See also (doc. 1 ¶ 238) (alleging policy of “replacing evidence-based parole decision-making

based on actuarially-based objective standards required by the JRA with racially skewed decision-

making untethered to evidence or the actuarially based objective standards required by the JRA.”).




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But the Board’s consideration of actuarial risk-assessment tools, its authority to deviate from its

own guidelines, and its authority to weigh the violent nature of an offense in deciding whether to

grant parole were unchanged by the 2019 statutory amendments. Compare 2015 Ala. Laws Act

No. 2015-185, at pp. 78-80, with 2019 Ala. Laws Act No. 2019-393, at pp. 9-11 (codified at Ala.

Code § 15-22-26).

       Plaintiffs’ ex post facto challenge is simply a challenge to the way the Board exercises its

discretion in applying state law. Plaintiffs rely heavily on a declaration of former Board Chair Lyn

Head that her practice was to base parole decisions primarily, if not exclusively, on the inmate’s

risk assessment score. (See doc. 23-1 at 13-15) (citing Head Decl. [doc. 26] ¶¶ 8-14). Head states

that this practice resulted in an increase of the parole grant rate from 30% in 2012 and 2013 to

54% in 2018. (Doc. 26 ¶¶ 12, 14). But under both the 2015 statute (which Plaintiffs laud) and the

2019 amendments (which they decry), the risk assessment is just one of six factors under the

Board’s guidelines, and the Board is not bound to follow its own guidelines. See Ala. Code § 15-

22-26(c) (“The guidelines shall serve as an aid in the parole decision making process, and the

decision concerning parole release shall be at the complete discretion of the board.”). Plaintiffs’

policy disagreement on how to weigh these factors is a matter of state law. See S&M Brands, Inc.,

925 F.3d at 1205 (“Accordingly, the ‘gravamen of [the] complaint appears to be that the State has

improperly interpreted and failed to adhere to a state statute,’ and Pennhurst bars such claims.”)

(quoting Schrenko, 109 F.3d at 688).

       Likewise with Plaintiffs’ purported equal protection claim. Plaintiffs do not allege they

were treated differently than similarly situated white inmates, or that Defendants improperly

considered race in making parole decisions. Instead, relying exclusively on grossly oversimplified

statistical data, Plaintiffs argue that the Board’s consideration of race-neutral factors resulted in




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black inmates—as a group—being denied parole more frequently than white inmates. (See doc.

23-1 at 39-41). But again, the supposed policies resulting in this alleged and overgeneralized

disparate impact are the Board’s alleged disregard of actuarial risk assessments and increased

denial rates for inmates convicted of violent offenses. (Id. at 40-41). Plaintiffs’ less discriminatory

alternative to these policies “is the very parole system and procedures rejected by Defendants, with

evidence- and actuarially-based standards that, when followed, undeniably achieved near racial

parity in parole grant rates.” (Id. at 43). But this is nothing more than an accusation that the Board

is failing to properly interpret and apply Alabama Code § 15-22-26 when compared to its pre-2019

practices, which Defendants dispute as a matter of state law.

       Second, consider the relief Plaintiffs request. They seek an injunction prohibiting

Defendants from “ensur[ing]” that inmates convicted of violent offenses are denied parole and

from “disregard[ing] the actuarially- and evidence-based risk assessments for considering parole

applications mandated by Alabama law.” (Doc. 23-1 at 56; see also Doc. 23-2 at 2) (emphasis

added). Pennhurst bars this express request for state officials to follow state law. They next seek

an injunction against the Board prohibiting them “from issuing parole decisions deviating from

the pre-2019 Parole Guidelines and practices.” (Doc. 23-1 at 57). This, too, seeks an order for the

Board to follow state law, albeit a prior interpretation and application of state law. See Hand v.

Scott, 888 F.3d 1206, 1213-14 (11th Cir. 2018) (“But the district court cannot enjoin Florida to

follow the district court’s interpretation of Florida’s own constitution.”) (citing Pennhurst).

Plaintiffs lastly seek an order requiring the Board to weigh the risk assessments more heavily, and

to give a written explanation for why they disregarded a “low” or “moderate” risk score. (Doc. 23-

1 at 57). But, again, this seeks to impose what former Board Chair Head considered “best

practices” and is not required under Alabama law. (Head Decl. [doc. 26] ¶ 11). The Court has no




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jurisdiction to adjudicate a dispute between a former Board member and current Board members

on the “best practices” (doc. 26 ¶ 11) for implementing Alabama Code § 15-22-26, because that

requires resolution of differing opinions as to what level of detail the Board must explain its

decisions under state law. See Fair Fight Action, Inc. v. Raffensperger, No. 1:18-CV-5391-SCJ,

2019 WL 13221296, at *5 n.15 (N.D. Ga. Dec. 27, 2019) (“Here, the Court is not being asked to

find a statute unconstitutional. Plaintiffs are asking the Court to find a state official’s interpretation

of a statute unconstitutional.”).

        “[W]hen the claim of entitlement to relief is based on a violation of state law, sovereign

immunity applies.” S&M Brands, Inc., 925 F.3d at 1204. The “gravamen” of Plaintiffs’ complaint,

Schrenko, 109 F.3d at 688, is that the Board’s prior practice of weighing risk assessments more

heavily resulted in higher parole grant rates and fewer racial disparities, and that the Board should

be ordered to return to this practice. But the risk assessment is one of only six factors considered

by the Board’s guidelines, and current Board members are free to weigh severity of the offense,

input from victims, or any number of other factors differently. See Ala. Code § 15-22-26(a). While

Plaintiffs style their claims as federal constitutional challenges, they are in substance an attempt to

impose their favored interpretation of state law. See S&M Brands, Inc., 925 F.3d at 1204

(“Conclusory allegations that the same conduct that violates state law also violates the U.S.

Constitution will not boost the claim over the sovereign-immunity bar.”). As a result, Plaintiffs’

claims are barred by sovereign immunity under Pennhurst.

        2.      Plaintiffs Lack Standing for an Injunction Against Ivey and Marshall Because
                the Injuries They Complain of Are Neither Traceable to the Governor or the
                Attorney General Nor Redressable By Either of Them.

        “[T]he irreducible constitutional minimum of standing contains three elements.” Lujan v.

Defs. of Wildlife, 504 U.S. 555, 560 (1992). “For a party to have standing to bring a lawsuit, it



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must have ‘(1) suffered an injury in fact, (2) that is fairly traceable to the challenged conduct of

the defendant, and (3) that is likely to be redressed by a favorable judicial decision.’” Muransky v.

Godiva Chocolatier, Inc., 979 F.3d 917, 924 (11th Cir. 2020) (en banc) (quoting Spokeo, Inc. v.

Robins, 136 S. Ct. 1540, 1547 (2016)). “Because standing to sue implicates jurisdiction, a court

must satisfy itself that the plaintiff has standing before proceeding to consider the merits of her

claim, no matter how weighty or interesting.” Lewis v. Gov. of Ala., 944 F.3d 1287, 1296 (11th Cir.

2019) (en banc).

       Standing requires the alleged injuries to be “fairly traceable to the challenged action of the

defendant.” Doe v. Pryor, 344 F.3d 1282, 1285 (11th Cir. 2003) (citing Lujan, 504 U.S. at 560)

(emphasis in original). In other words, a plaintiff’s injuries must be redressable by an action against

a particular defendant. See id. (“Even if we assume that all of those alleged injuries meet the Lujan

injury-in-fact requirement, [plaintiff] still does not have standing to bring this claim because her

injuries are not fairly traceable to the Alabama Attorney General, and they cannot be redressed

through this action against him.”); Collins v. Yellen, 141 S. Ct. 1761, 1779 (2021) (“[F]or purposes

of traceability, the relevant inquiry is whether the plaintiffs’ injury can be traced to ‘allegedly

unlawful conduct’ of the defendant, not to the provision of law that is challenged.”).

       An injury is not fairly traceable to a state official if it is the result of actions of independent

officials not subject to the control of the officials seeking to be enjoined. See Jacobson v. Fla. Sec’y

of State, 974 F.3d 1236, 1253-54 (11th Cir. 2020) (“Because the Supervisors are independent

officials not subject to the Secretary’s control, their actions to implement the ballot statute may not

be imputed to the Secretary for purposes of establishing traceability.”). Nor is an injury redressable

against state officials if they have no control over the relevant state officials who did cause the

alleged injury. See id. at 1254 (stating an injunction against the Florida Secretary of State “cannot




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provide redress, for neither she nor her agents control the order in which candidates appear on the

ballot.”).

        Here, Plaintiffs’ claims are not traceable to Ivey or Marshall or redressable by an order

against either of them because they do not control the Board’s decision to grant or deny parole or

to determine the reset time between parole considerations. The Plaintiffs frame their injury as being

“denied parole by the Parole Board, despite work and programming records that clearly

demonstrate their qualification for parole release.” (Doc. 23-1 at 28-29). They complain that the

Board denied their parole pursuant to its alleged policy of denying parole to inmates convicted of

violent offenses and failing to rely on risk assessments. (Id.). But Alabama law makes it abundantly

clear that “the decision concerning parole release shall be at the complete discretion of the board.”

Ala. Code § 15-22-26(c) (emphasis added); see also Ala. Code § 15-22-24(a)(1) (stating that the

“Board of Pardons and Paroles shall be charged with all of the following: (1) Determining which

prisoners serving sentences in the jails and prisons of the State of Alabama may be released on

parole and when and under what conditions.”). Similarly with respect to Plaintiffs’ race

discrimination claim for length of reset dates between parole considerations, only the Board has

authority to make this decision. See Ala. Code § 15-22-37(b)(4); ALA. ADMIN CODE r. 640-X-3-

.03. Ivey and Marshall therefore did not cause Plaintiffs to be denied parole or determine their

reset dates, and an injunction against Ivey and Marshall cannot redress Plaintiffs’ injury by

requiring the Board to give Plaintiffs what they want: a new parole decision based on a

consideration of only those factors Plaintiffs wish them to consider or a shorter reset date.

        To be sure, Plaintiffs allege that the Board’s current policies are due to “the urging of

Defendants Ivey and Marshall,” (doc. 23-1 at 28), and even seek an injunction ordering that

“Defendants Ivey and Marshall are prohibited from instructing their agents and Defendant Parole




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Board members (a) to ensure that individuals who have been sentenced to incarceration for

offenses Alabama deems ‘violent’ are not granted parole, and (b) to disregard the actuarially- and

evidence-based risk assessments for considering parole applications mandated by Alabama law.”

(Id. at 56) (emphasis added). But these allegations and requests for relief are contrary to Ivey and

Marshall’s authority under state law.

        Neither Ivey nor Marshall has authority or control over the Board’s decisions to grant or

deny parole or calculate reset dates. Ivey appoints Board members, subject to confirmation by the

State Senate, but has no authority to order the Board to grant or deny parole. See Ala. Code § 15-

22-20(b). Further, any indirect authority related to the Board would be insufficient to establish

standing as to Governor Ivey. For example, “the governor’s ability to suspend officials for cause”

is insufficient to “establish[] traceability” as to the governor. City of S. Miami v. Governor, 65 F.4th

631, 643 (11th Cir. 2023). Likewise, whatever power Governor Ivey has related to parole is

insufficient to satisfy standing requirements here.

        Marshall’s power, as Attorney General, is limited to receiving notice of parole hearings and

representing victims before the Board. See Ala. Code §§ 15-22-23(b)(2)(a.); 15-22-36(d).

Marshall’s role before the Board is an extension of his general duty to advocate for crime victims.

See, e.g., Ala. Code §§ 15-23-83 (“The Attorney General or district attorney may assert any right

to which the victim is entitled.”); 15-20A-41(c) (imposing a duty on the Attorney General to notify

victims of the pending release of a sex offender); 13A-6-157.1(b) (authorizing Attorney General

to file civil action on behalf of the state to recover damages for victims of human trafficking).

Marshall can object to parole on behalf of a victim and otherwise advocate before the Board, but

he has no control over the Board’s ultimate decision. While Marshall, and any other interested

party, may advocate for a particular outcome before the Board, the Board is the sole arbiter of




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whether parole is granted or denied and of reset dates. See Sullivan v. Smith, 925 So. 2d 972, 975

(Ala. Civ. App. 2005) (“The acts of the Board in granting or denying parole . . . are judicial in

nature.”).

       With respect to the particular actions challenged by Plaintiffs—parole denial and reset

dates—“the [Board members] are independent officials not subject to the [Governor or Attorney

General’s] control, [and so] their actions . . . may not be imputed to the [Governor or Attorney

General] for purposes of establishing traceability.” Jacobson, 974 F.3d at 1253-54. Plaintiffs’

specific allegations further confirm neither the Governor nor Attorney General were the legal cause

of their parole denial. Plaintiffs allege no act or omission of Ivey in relation to their specific cases

either in the complaint or their declarations (docs. 25 to 25-5). As to Marshall, the five Plaintiffs

convicted of violent offenses note that Marshall opposed granting parole in their cases. (Doc. 23-

1 at 32). Plaintiff Campbell was no longer serving a sentence on a violent crime when his parole

was denied, and Marshall did not object in his case. (Doc. 23-1 at 28; id. n.14; Doc. 25-1 ¶¶ 10-

11). As a matter of law, Plaintiffs cannot allege that Ivey or Marshall compelled the Board to deny

their parole, compelled the Board not to consider factors such as risk assessments, compelled the

Board to deny parole for all Plaintiffs convicted of a violent offense, or compelled the Board to set

a certain reset date. Such allegations are incorrect conclusions of law and are not entitled any

presumption of truth. See Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

       Since Plaintiffs’ denial of parole and reset dates are neither traceable to Ivey or Marshall

nor redressable by them, Plaintiffs lack standing to sue Ivey and Marshall for injunctive relief.




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       3.      For the Same Reasons That Plaintiffs Lack Standing, Ivey and Marshall Are
               Entitled to Sovereign Immunity Because They Lack the Relevant Enforcement
               Connection to the Challenged Practices.

       Plaintiffs’ claims against Ivey and Marshall proceed under the “narrow exception” to

sovereign immunity under Ex parte Young for official-capacity claims against state officials to

enjoin an ongoing violation of federal law. Nat’l Ass’n of Bds. of Pharmacy, 633 F.3d at 1308. But

“the doctrine of Ex parte Young cannot operate as an exception to Alabama’s sovereign immunity

where no defendant has any connection to the enforcement of the challenged law at issue.” Summit

Med. Assocs., P.C. v. Pryor, 180 F.3d 1326, 1341 (11th Cir. 1999). For the same reasons why

Plaintiffs lack standing to sue Ivey and Marshall for parole decisions, namely lack of traceability

and redressability, Ivey and Marshall likewise lack the relevant connection to parole decisions for

purposes of Ex parte Young. Since Plaintiffs’ claims against Ivey and Marshall do not come within

the Ex parte Young exception to sovereign immunity, they are entitled to sovereign immunity from

Plaintiffs’ claims. See Summit Med. Assocs, P.C., 180 F.3d at 1342.

       Ex parte Young held its exception to sovereign immunity applied only for claims against

state officers that had “some connection with the enforcement of the act”—otherwise, “it is merely

making him a party as a representative of the state, and thereby attempting to make the state a

party.” 209 U.S. at 157. “Therefore, unless the state officer has some responsibility to enforce the

statute or provision at issue, the ‘fiction’ of Ex parte Young cannot operate.” Summit Med. Assocs.,

P.C., 180 F.3d at 1341. “Only if a state officer has the authority to enforce an unconstitutional act

in the name of the state can the Supremacy Clause be invoked to strip the officer of his official or

representative character and subject him to the individual consequences of his conduct.” Id.

       As already argued on standing, Ivey and Marshall do not have authority under state law to

grant or deny parole, to compel the Board to deny parole for inmates convicted of violent offenses,




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to compel the Board to disregard risk assessments, or to set reset dates. (See doc. 23-1 at 56)

(seeking an injunction against Ivey and Marshall prohibiting them from “instructing” the Board to

take these actions). For these same reasons, Ivey and Marshall lack the relevant enforcement

connection to Alabama Code § 15-22-26 and § 15-22-37(b)(4) to come within the Ex parte Young

exception to sovereign immunity.

       Ivey, as Governor, lacks the necessary enforcement connection because she cannot direct

the Board’s actions regarding parole decisions. See Ala. Code §§ 15-22-20(b), (c), (e). It is the

Board that has sole authority over parole decisions and reset dates. See Ala. Code § 15-22-24(a)(1),

-26(c); § 15-22-37(b)(4); ALA. ADMIN CODE r. 640-X-3-.03. The Governor’s power of appointment

does not create the relevant enforcement connection for the Ex parte Young exception to apply. See

Women’s Emergency Network v. Bush, 323 F.3d 937, 949 (11th Cir. 2003). In Bush, the court held

the Ex parte Young exception did not apply to the Florida governor regarding a law enforced by

the Department of Motor Vehicles even though the governor was responsible for the agency along

with six cabinet members. Id. For the same reason, the Ex parte Young exception does not apply

to the Governor here. Bush also held that appeal to the governor’s general executive power could

not overcome sovereign immunity:

               Appellants also contend Bush is a proper party because, as governor,
               he is responsible for the enforcement of § 320.0808(30). A
               governor’s “general executive power” is not a basis for jurisdiction
               in most circumstances. If a governor’s general executive power
               provided a sufficient connection to a state law to permit jurisdiction
               over him, any state statute could be challenged simply by naming
               the governor as a defendant. Where the enforcement of a statute is
               the responsibility of parties other than the governor (the cabinet in
               this case), the governor’s general executive power is insufficient to
               confer jurisdiction.

Id. at 949-50 (citations omitted) (emphasis added). The same reasoning applies here, and so

Governor Ivey is entitled to sovereign immunity.



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       As to Marshall, his role is to receive notice of parole hearings and to advocate for victims’

interests before the Board. See Ala. Code §§ 15-22-23(b)(2)(a.); 15-22-36(d). The Attorney

General’s advocacy for victims before the Board is an extension of his role as the state’s chief

prosecutor and statutory advocate for victims. See Allen v. Thompson, 815 F.2d 1433, 1434 (11th

Cir. 1987) (holding prosecutor forwarding information to parole commission was a prosecutorial

act protected by absolute immunity because “[p]arole decisions are the continuation of the

sentencing process.”); Ala. Code § 15-23-83 (“The Attorney General or district attorney may assert

any right to which the victim is entitled.”). As with any action of an advocate before a quasi-

judicial body, the advocate can only present his case. Marshall has no power to dictate the Board’s

parole decisions or what factors Board members should consider in making parole decisions.

       Plaintiffs’ requested injunction to prohibit Marshall from “instructing” the Board to deny

parole for violent offenders and to disregard the results of actuarial risk assessments (doc. 23-1 at

56) fundamentally misconstrues the Attorney General’s duties under state law. Marshall is not

required to be impartial before the Board. Marshall’s role as advocate for crime victims often

results in him objecting to the grant of parole, as he did for five of the six Plaintiffs here. (Exhibit

2); see also (doc. 24-22). Other parties may appear before the Board and advocate their interests.

See (Docs. 25 through 25-5). But the Board has sole authority to weigh all parties’ views, consider

the statutory factors incorporated into its guidelines, consider whether to follow its own guidelines

in a given case, and to make the ultimate decision on parole—a decision that is “at the complete

discretion of the board.” Ala. Code § 15-22-26(c).

       Since neither Ivey nor Marshall control the Board’s parole decisions, they lack the relevant

enforcement connection to come within the Ex parte Young exception to sovereign immunity and

are accordingly entitled to absolute immunity from suit for Plaintiffs’ claims.




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       4.      Alternatively, Even if Plaintiffs’ Claims for Prospective Relief Were not Barred
               by Sovereign Immunity, Plaintiffs’ Request for Review of Past Parole Denials
               Is Barred by Sovereign Immunity.

       Plaintiffs request not only that their injunction apply to future parole hearings, but also that

Ivey and Marshall be “prohibited from continuing to benefit” from alleged unconstitutional

incarceration by ordering the Board (a) to review past parole denials at the rate of 1,000 a month;

and (b) to reset parole consideration no longer than two years out if parole is still denied after

reconsideration. (Doc. 23-1 at 57-58). But even assuming Plaintiffs’ claims were otherwise proper

under the Ex parte Young exception to sovereign immunity, which they are not, Plaintiffs’ request

for retroactive relief is nevertheless barred by sovereign immunity.

       The “Ex parte Young doctrine applies only to ongoing and continuous violations of federal

law.” Summit Med. Assocs., P.C., 180 F.3d at 1337. “In other words, a plaintiff may not use the

doctrine to adjudicate the legality of past conduct.” Id. (emphasis added); see also Puerto Rico

Aqueduct & Sewer Auth. v. Metcalf & Eddy, Inc., 506 U.S. 139, 146 (1993) (“Moreover, the [Ex

parte Young] exception is narrow: It applies only to prospective relief, [and] does not permit

judgments against state officers declaring that they violated federal law in the past.”) (emphasis

added); Green v. Mansour, 474 U.S. 64, 68 (1985) (“We have refused to extend the reasoning of

Young, however, to claims for retrospective relief” because “compensatory or deterrence interests

are insufficient to overcome the dictates of the Eleventh Amendment.”)).

       Plaintiffs’ request for a remedy to the alleged “unconstitutional increase of incarcerated

people’s sentences since October 1, 2019,” is a request to remedy a past violation of law, namely,

the allegedly unconstitutional denial of parole in every case since October 1, 2019. Past parole

denials are not “ongoing” injuries because the Board’s denial of parole and choice of reset date are

not “continuing violation[s]” but “a one time act with continued consequences.” Lovett v. Ray, 327




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F.3d 1181, 1183 (11th Cir. 2003). Nor does repeated denial of parole or choice of reset date

pursuant to the same alleged policies constitute a “distinct and separate injury.” Brown v. Ga. Bd.

of Pardons & Paroles, 335 F.3d 1259, 1261 (11th Cir. 2003).

        Plaintiffs’ request for an injunction requiring the Board to reconsider past parole denials is

thus retroactive because it seeks a remedy for a past injury that is a one-time act rather than an

ongoing violation of federal law. See Lovett, 327 F.3d at 1183. As a result, Plaintiffs’ request for

reconsideration of all parole denials since October 1, 2019 does not come within the Ex parte

Young exception to sovereign immunity and is barred by the Eleventh Amendment.

        5.     Plaintiffs’ Request for Review of Past Parole Denials Must Also Be Denied
               Because Habeas Is the Exclusive Remedy for Past Injury.

        Both the federal habeas statute and § 1983 enable a prisoner to challenge “unconstitutional

treatment at the hands of state officials.” Heck v. Humphrey, 512 U.S. 477, 480 (1994). “But there

the resemblance stops.” Nance v. Ward, 142 S. Ct. 2214, 2221 (2022). Though the broad language

of § 1983 might otherwise “apply to all of a prisoner’s constitutional claims,” id., the Supreme

Court has explained that § 1983 contains an “implicit exception” for actions that lie “within the

core of habeas corpus,” Wilkinson v. Dotson, 544 U.S. 74, 79 (2005) (quoting Preiser v. Rodriguez,

411 U.S. 475, 487 (1973)). That is, an action that is “within the core of habeas corpus” cannot be

brought under § 1983. See McNabb v. Comm’r Ala. Dep’t of Corr., 727 F.3d 1334, 1344 (11th Cir.

2013) (“Issues sounding in habeas are mutually exclusive from those sounding in a § 1983

action.”).

        To determine whether an action lies within the core of habeas corpus as to foreclose a §

1983 claim, courts focus “on whether a claim challenges the validity of a conviction or sentence.”

Nance, 142 S. Ct. at 2221. Habeas is the exclusive remedy where plaintiffs seek “to invalidate the

duration of their confinement—either directly through an injunction compelling speedier release


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or indirectly through a judicial determination that necessarily implies the unlawfulness of the

State’s custody.” Wilkinson, 544 U.S. at 81.

       Here, Plaintiffs’ request for re-hearings to remedy allegedly unconstitutional parole denials

in the past must proceed in habeas because it challenges the validity of their sentences. Plaintiffs

request relief from Defendants “continuing to benefit from their unconstitutional increase of

incarcerated people’s sentences since October 1, 2019,” and request parole reviews at the rate of

1,000 per month as a remedy. (Doc. 23-1 at 57) (emphasis added). But the claim that Plaintiffs’

sentences were unconstitutionally increased challenges the validity of their sentences and thus

seeks a speeder release, or at the very least “a judicial determination that necessarily implies the

unlawfulness of the State’s custody.” Wilkinson, 544 U.S. at 81. Thus, Plaintiffs’ claims for

retroactive relief must proceed exclusively in habeas and may not proceed under § 1983.

       While Plaintiffs may be able to assert constitutional challenges to procedures used at parole

hearings pursuant to § 1983, they may challenge only the prospective enforcement of those

procedures in a § 1983 proceeding. See Wilkinson, 544 U.S. at 79-80. That is because prospective

relief requiring the Board to alter its procedures at parole hearings would not “necessarily” result

in “immediate release or a shorter period of incarceration” and because Plaintiffs “attack[] only

the ‘wrong procedures, not . . . the wrong result.” Id. (quoting Heck v. Humphrey, 512 U.S. 477,

483 (1994)) (emphasis added); see also Wolff v. McDonnell, 418 U.S. 539, 554-55 (1974). Since

Plaintiffs allege that their past denials of parole unconstitutionally lengthened their sentences, they

may not challenge the allegedly “wrong result” result reached in every parole decision since

October 1, 2019. See Wilkinson, 544 U.S. 79-80, 82.

       Thus, both because sovereign immunity bars claims for retroactive relief and because

habeas is the exclusive remedy for an allegedly unconstitutional past denial of parole that




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unconstitutionally lengthens a sentence, Plaintiffs’ request for review of all parole denials since

October 1, 2019 at the rate of 1,000 cases a month must be denied.

       6.      Plaintiffs Are Unlikely to Succeed on the Merits of their Ex Post Facto
               Challenge Because the Alleged 2019 Policy Changes Do Not Retroactively
               Increase the Punishment That Was in Effect at the Time Plaintiffs Committed
               Their Crimes.

       The United States Constitution prohibits states from enacting any “ex post fact Law.” U.S.

CONST. art. I, § 10. “The ex post facto prohibition forbids the Congress and States to enact any law

‘which imposes a punishment for an act which was not punishable at the time it was committed;

or imposes additional punishment to that then prescribed.’” Weaver v. Graham, 450 U.S. 24, 28

(1981) (quoting Cummings v. Missouri, 4 Wall. 277, 325-26 (1867)). “Thus, in order for a criminal

or penal law to be ex post facto, it must be retroactively applied and must disadvantage the offender

because it may impose greater punishment.” Hock v. Singletary, 41 F.3d 1470, 1471 (11th Cir.

1995). “However, if a statute is merely procedural and does not affect the quantum of punishment

attached to the crime, there is no ex post facto violation even when the statute is applied

retroactively.” Id. (citing Dobbert v. Fla., 432 U.S. 282, 293 (1977)). In the context of an ex post

facto challenge to parole laws, the inquiry is whether retroactive application of the law creates “a

sufficient risk of increasing the measure of punishment attached to the covered crimes.” Cal. Dep’t

of Corrs. v. Morales, 514 U.S. 499, 509 (1995).

       “When subjecting a law to ex post facto scrutiny, courts should bear in mind the related

aims of the ex post facto clause: providing fair notice of which acts will subject the perpetrator to

criminal sanctions, and preventing vindictive criminal legislation.” Dufresne v. Baer, 744 F.2d

1543, 1546 (11th Cir. 1984) (footnotes omitted). Since the ex post facto prohibition is premised on

“fair notice,” it “forbids the imposition of punishment more severe than the punishment assigned

by law when the act to be punished occurred.” Weaver, 450 U.S. at 30 (emphasis added). “Critical


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to relief under the Ex Post Facto Clause is not an individual’s right to less punishment, but the

lack of fair notice and governmental restraint when the legislature increases punishment beyond

what was prescribed when the crime was consummated.” Id. (emphasis added). As a result, “[t]he

measuring point for purposes of the Ex Post Facto Clause is the time that [Plaintiffs] committed

[their] crimes.” United States v. Colon, 707 F.3d 1255, 1258 (11th Cir. 2013).

       Plaintiffs incorrectly focus on alleged changes to parole practices between 2015 and

October 1, 2019, arguing that the Board decreased reliance on risk assessments and decreased the

grant rate for inmates convicted of violent offenses. (Doc. 23-1 at 35-36). But Plaintiffs fail to cite,

or even mention, the parole law in effect at the time Plaintiffs committed the offenses for which

they are currently serving sentences, even though that is the correct timeframe for the ex post facto

analysis. See Weaver, 450 U.S. at 30-31. Plaintiffs in this case all committed their offenses and

were sentenced between 1993 at the earliest and 2012 at the latest. Plaintiffs’ offenses predated

both the 2015 and 2019 parole amendments.2

       Plaintiffs had “fair notice” of parole requirements under the 1951 law in effect at the time

they committed their crimes—a law that remained unchanged until the 2015 JRA. See 1951 Ala.

Laws Act No. 1951-599. Plaintiffs’ expectations for parole under that statute were as follows: “No

prisoner shall be released on parole merely as a reward for good conduct or efficient performance

of duties assigned in prison, but only if the board is of opinion that there is reasonable probability

that, if such prisoner is released, he will live and remain at liberty without violating the law, and



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  Plaintiffs have standing to bring an ex post facto challenge solely from the viewpoint of inmates
convicted of offenses prior to 2015. Although members of the class they seek to represent may
have different dates of conviction, Plaintiffs have standing to represent a class of only those
members who suffered the same personal injury as themselves. See Griffin v. Dugger, 823 F.2d
1476, 1482–83 (1987) (holding that “it is not enough that a named plaintiff … hav[e] standing as
to just one of many claims he wishes to assert;” instead, “a claim cannot be asserted on behalf of
a class unless at least one named plaintiff has suffered the injury that gave rise to the claim”).


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that his release is not incompatible with the welfare of society.” 1951 Ala. Act No. 1951-599 § 7.

That is it. Plaintiffs had fair notice that, once convicted, the Board would have sole authority to

decide whether to release them on parole based on “subjective” and “discretionary” factors that

create no expectation or right to release. See Thomas v. Sellers, 691 F.2d 487, 489 (11th Cir. 1982).

Plaintiffs had no expectation that parole decisions would be based on guidelines that included

objective factors such as the use of an actuarial validated risk assessment.

       Plaintiffs’ argument that the Board ceased to faithfully apply the 2015 statutory guidelines

beginning in 2019 is irrelevant to the ex post facto challenge they have standing to bring. The

question is whether the Board’s alleged current policies of giving less weight to risk assessments

and rarely granting parole to those convicted of violent offenses creates “a sufficient risk of

increasing the measure of punishment attached to the covered crimes,” Morales, 514 U.S. at 509,

when compared to the law in effect when Plaintiffs committed their crimes, i.e., the 1951 law. The

answer under binding precedent is that they do not. See Jones v. Ga. State Bd. of Pardons &

Paroles, 59 F.3d 1145, 1149-50 (11th Cir. 1995); Paschal v. Wainwright, 738 F.2d 1173, 1179-81

(11th Cir. 1984).

       The ex post facto challenge in Paschal is identical to Plaintiffs’ here. When Paschal

committed his crime, the Florida statute on parole consideration was nearly identical to the 1951

Alabama law in effect at the time of Plaintiffs’ crimes here. Compare Paschal, 738 F.2d at 1178

(quoting statute stating parole could be granted only if “there is reasonable probability that, if he

is placed on parole, he will live and conduct himself as a respectable and law abiding person, and

that his release will be compatible with his own welfare and the welfare of society.”); with 1951

Ala. Laws Act No. 1951-599 § 7 (stating parole could be granted only if “there is reasonable




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probability that, if such prisoner is released, he will live and remain at liberty without violating the

law, and that his release is not incompatible with the welfare of society.”).

        While Paschal was incarcerated, Florida amended its law to require the parole commission

to adopt “‘objective guidelines’ to channel its decision making” based on “‘an acceptable research

method and . . . based on the seriousness of the offense and the likelihood of favorable parole

outcomes.’” Paschal, 738 F.2d at 1178. But the “basic features of the prior scheme” remained the

same, including the “most important” feature that “the ultimate parole decision remains committed

to the Commission’s discretion.” Id. Paschal argued the law was ex post facto because it

retroactively classified his offense with “the highest possible offense severity rating” and extended

his presumptive release date under the new guidelines, although the commission still retained

discretion to set an earlier release date. Id. at 1175, 1179.

        But the court rejected Paschal’s ex post facto claim because the retroactively applied

“guidelines are not more onerous than prior law” because they “did not substantively alter

petitioner’s parole eligibility or confine the Commission’s discretion to release him; they merely

clarified the exercise of administrative discretion.” Id. at 1179 (emphasis added). The ex post facto

analysis properly focused on the notice Paschal had at the time he committed his offense:

                At the time petitioner committed the murder that led to his
                incarceration, he was on fair notice that if he received a life sentence
                he would be subject to parole at the discretion of the Commission.
                This was not changed. The guidelines merely stated and rationalized
                the exercise of the Parole Commission’s discretion. Petitioner
                accordingly suffered no legislative increase in punishment.

Id. at 1180 (emphasis added). This reasoning applies equally to Plaintiffs here, because the changes

in Alabama law mirror the changes in Florida’s law in Paschal.

        Like the prior Florida law, parole decisions under Alabama’s 1951 law were made “on an

ad hoc basis,” id. at 1178, based on a “reasonable probability” that the inmate “will live and remain



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at liberty without violating the law, and that his release is not incompatible with the welfare of

society.” 1951 Ala. Laws Ala. Act No. 1951-599 § 7. Also like the Florida law, Alabama’s 2015

amendments required the Board to adopt guidelines using objective criteria such as risk

assessments to guide its decisions, but it remained unchanged that “the decision concerning parole

release shall be at the complete discretion of the board.” Ala. Code § 15-22-26(c). The 2019 law

made no changes to the 2015 law other than requiring the Board “to ensure public safety” and

stating that its “paramount duty is to protect public safety.” 2019 Ala. Laws Act No. 2019-393 p.

9. But this is the equivalent of the 1951 law’s requirement that an inmate’s “release is not

incompatible with the welfare of society.” 1951 Ala. Laws Ala. Act No. 1951-599 § 7.

       Since Plaintiffs had fair notice that they would be subject to the complete discretion of the

Board both at the time of their offense and after the 2015 and 2019 changes, Paschal’s conclusion

applies here:

                The promulgation of guidelines under the Act did not alter the
                consequences that flowed from petitioner’s crime: both in 1968
                when he committed that crime, and in 1979, when the Commission
                set his presumptive parole date, the Commission had complete
                discretion over the parole decision. Only the form by which the
                Commission exercised that discretion changed.

Paschal, 738 F.2d at 1180-81. The Eleventh Circuit later reached the same conclusion in a similar

challenge to Georgia’s parole board. See Jones, 59 F.3d at 1149 (“In our view, the key to answering

this question [whether the method for calculating a Tentative Parole Month created a sufficient risk

of increasing punishment] lies in the undisputed fact that, both before and after the January 22,

1991 rule change, the Board retained and in fact exercised virtually unfettered discretion to deviate

both above and below the Guidelines-recommendation in setting the TPM.”).

       Plaintiffs’ ex post facto argument here is significantly weaker than the arguments that were

rejected in Paschal and Jones. In each of those cases, the retroactive application of the new



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guidelines created a presumption of a later parole date than previously calculated. See Jones, 59

F.3d at 1147-48 (stating class members were inmates whose new guideline release date based on

new requirement of serving one third of their sentence exceeded prior presumptive release date);

Paschal, 738 F.2d at 1174-75 (stating Paschal went from yearly parole review in 1975, 1976, 1977,

and 1978 to a presumptive release date of 1993 based on application of the 1978 guidelines).

Plaintiffs here suffered no automatic reclassification or presumption against parole, but instead

argue that the Board’s “policies” make it unlikely they will be granted parole.

       The only allegations and evidence Plaintiffs present of these allegedly unconstitutional

“policies” are statistics on the declining parole grant rate and the frequency with which the Board

deviates from its guidelines. (Doc. 23-1 at 36-7).3 But where a parole board has complete discretion

to grant or deny parole, statistics on grant rates not only fail to establish an ex post facto “policy”

but are irrelevant and inadmissible. See Jones, 59 F.3d at 1150 (stating that because the Georgia

parole board “retained and in fact exercised virtually unfettered discretion to deviate both above

and below” its guidelines “[t]he statistics proffered by the plaintiff class demonstrate nothing

more.”); see also Porter v. Ray, 461 F.3d 1315, 1321, 1324 (11th Cir. 2006). Porter rejected the

use of statistics to prove the Georgia parole board retroactively applied a “de facto policy” of

requiring inmates to serve 90% of their sentences before granting parole. 461 F.3d at 1319. Porter

stated that since the board had “virtually unfettered discretion” to vary from its guidelines, “we

doubt whether comparison statistics would assist the appellants in showing that the Board violated

the Ex Post Facto Clause.” 461 F.3d at 1321. In fact, the court upheld the denial of the plaintiffs’




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  Plaintiffs do not assert an ex post facto challenge based on the length of time between parole
consideration, i.e. the reset dates. Any such challenge is hopelessly doomed by Morales. See
Morales, 514 U.S. at 514 (holding retroactive increase of length of time between parole hearings
did not violate Ex Post Facto Clause).


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discovery request for parole files because “the appellants’ argument that statistics will prove that

the Board has applied a de facto 90% policy is irrelevant here.” Id. at 1324 (emphasis added).

       As Jones and Porter demonstrate, Plaintiffs’ appeal to statistics proves nothing because the

Board’s “use of established guidelines for parole consideration shall not create a right or

expectation by a prisoner to parole or release” and “the decision concerning parole release shall be

at the complete discretion of the board.” Ala. Code § 15-22-26(c). Since the Board has complete

discretion, variations in parole outcomes “demonstrate nothing more” than this very discretion.

Jones, 59 F.3d at 1150. The Board’s declining grant rate could be due to the change of composition

of Board members, changing attitudes towards public safety, increased violent crime rates, a

philosophical commitment to inmates serving the sentences actually imposed—especially in the

case of violent offenders—or any other number of subjective and discretionary factors Board

members may consider. The Supreme Court case Plaintiffs themselves rely on recognizes the

legitimacy of changes in parole outcomes based on discretionary decision making:

               On the other hand, to the extent there inheres in ex post facto
               doctrine some idea of actual or constructive notice to the criminal
               before commission of the offense of the penalty for the
               transgression, we can say with some assurance that where parole is
               concerned discretion, by its very definition, is subject to changes in
               the manner in which it is informed and then exercised. The idea of
               discretion is that it has the capacity, and the obligation, to change
               and adapt based on experience. New insights into the accuracy of
               predictions about the offense and the risk of recidivism consequent
               upon the offender's release, along with a complex of other factors,
               will inform parole decisions.

       Garner v. Jones, 529 U.S. 244, 253 (2000) (citation omitted).

       While Plaintiffs quote Garner for the proposition that “[t]he presence of discretion does

not displace the protections of the Ex Post Facto Clause,” (doc. 23-1 at 34), Garner also

acknowledged in the above quote that an ex post facto challenge cannot be premised on the claim




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that “discretion has been changed in its exercise.” 529 U.S. at 253-54 (emphasis added). The

challenge in Garner was to a retroactive extension of intervals between parole considerations. Id.

at 246. The “essence of” the claim was “not that discretion has been changed in its exercise but

that, in the period between parole reviews, it will not be exercised at all.” Id. at 256 (emphasis

added). Garner did not allege a “policy,” like the one Plaintiffs allege here, that amounted only to

accumulated data about discretionary decisions in individual cases. Garner itself shows that

Plaintiffs cannot premise an ex post facto claim on decisional trends resulting from the exercise of

the Board’s discretion in individual cases.4

       Plaintiffs’ ex post facto claim fails because they cannot show that the 2019 amendments or

alleged “policy” changes create “a sufficient risk of increasing the measure of punishment attached

to the covered crimes,” Morales, 514 U.S. at 509, when compared to the law existing when they

committed their offenses. Under Plaintiffs’ own theory, they would be in a worse position if the

2015 and 2019 laws were repealed. Plaintiffs complain that the Board gives insufficient weight to

risk assessments and too much weight to conviction for a violent offense. But the 1951 law in

effect when they committed their crimes did not require the Board to use guidelines with objective

factors, such as risk assessments, at all. They had “fair notice” that the Board would have complete

discretion over their release on parole based only on its subjective “opinion that there is a

reasonable probability that, if such prisoner is released, he will live and remain at liberty without

violating the law, and that his release is not incompatible with the welfare of society.” 1951

Alabama Laws Act No. 599 § 7. Since neither the 2019 law, the Board’s guidelines, or its “policies”




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  Plaintiffs further rely on three out-of-circuit, and hence nonbinding, cases. (Doc. 23-1 at 34)
(citing Fletcher v. District of Columbia, 391 F.3d 250, 251 (D.C. Cir. 2004); Fletcher v. Reilly, 433
F.3d 867 (D.C. Cir. 2006); Michael v. Ghee, 498 F.3d 372 (6th Cir. 2007). These cases are both
nonbinding and distinguishable.


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have “operated to [Plaintiffs’] detriment,” Paschal, 738 F.2d at 1177, their ex post facto claim fails

as a matter of law.

       7.      Plaintiffs Are Unlikely to Succeed on the Merits of Their Equal Protection
               Claim Because They Have Failed to Allege or Prove That Their Parole
               Decisions Were the Result of Intentional Discrimination.

       Plaintiffs make no allegations that they were treated differently than similarly-situated

white inmates with respect to parole decisions. Instead, they attempt to carry their burden of

alleging intentional race discrimination by presenting statistical disparities in outcomes of overall

parole decisions. But since parole decisions are highly individualized and discretionary, statistics

must provide “‘exceptionally clear proof’’’ to support a claim of purposeful discrimination. Fuller

v. Ga. State Bd. of Pardons & Paroles, 851 F.2d 1307, 1310 (11th Cir. 1988) (quoting McCleskey

v. Kemp, 481 U.S. 279, 297 (1987)). Plaintiffs’ statistics come nowhere near meeting this burden,

so they fail to carry their burden of showing a likelihood of success on the merits of their race

discrimination claim.

       “A successful equal protection claim under the Fourteenth Amendment requires proof of

both an intent to discriminate and actual discriminatory effect.” Greater Birmingham Ministries v.

Sec’y of State for the State of Ala., 992 F.3d 1299, 1321 (11th Cir. 2021). “‘Discriminatory purpose’

. . . implies more than intent as volition or intent as awareness of consequences.” Personnel Adm’r

of Mass. v. Feeney, 442 U.S. 256, 279 (1979). “It implies that the decisionmaker . . . selected or

reaffirmed a particular course of action at least in part ‘because of,’ not merely ‘in spite of,’ its

adverse effects upon an identifiable group of people.” Id. Thus, “even if a neutral law has a

disproportionately adverse effect upon a racial minority, it is unconstitutional under the Equal

Protection Clause only if that impact can be traced to a discriminatory purpose.” Id. at 272. In

short, “the Fourteenth Amendment guarantees equal laws, not equal results.” Id. at 273.



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        Applying these equal protection principles to the parole context, “[t]o establish an equal

protection claim, a prisoner must demonstrate that (1) ‘he is similarly situated with other prisoners

who received’ more favorable treatment; and (2) his discriminatory treatment was based on some

constitutionally protected interest such as race.” Jones v. Ray, 279 F.3d 944, 946-47 (11th Cir.

2001) (quoting Damiano v. Fla. Parole and Prob. Comm’n, 785 F.2d 929, 932-33 (11th Cir. 1986)).

Plaintiffs make no attempt to even allege they were treated differently than a similarly-situated

white inmate with respect to parole decisions. In the allegations in the complaint and in their

declarations, Plaintiffs merely state that they are in various forms of minimum custody and that

they believe they are suitable candidates for parole. (Docs. 25 to 25-5). In fact, Plaintiffs’ only

allegations relevant to Marshall undermine their own claims of race discrimination. They note that

Marshall objected to parole for the five Plaintiffs serving convictions for violent offenses but did

not object to parole for the one Plaintiff (Campbell) who is not serving a conviction for a violent

offense, even though all Plaintiffs are black. (Doc. 23-1 at 28, 32). Plaintiffs fail to allege any facts

to show Ivey or Marshall treated them differently because of their race or that the Board made any

decision based on purposeful discrimination.

        Instead, Plaintiffs attempt to carry their burden of showing purposeful discrimination solely

by appeal to statistics. But Fuller shows that Plaintiffs’ attempt fails for two reasons. First, when

an inmate attempts to establish a race discrimination claim through statistics in the parole context,

the statistics must provide “‘exceptionally clear proof’’’ to support a claim of purposeful

discrimination. Fuller, 851 F.2d at 1310 (quoting McCleskey, 481 U.S. at 297). Fuller adopted the

“exceptionally clear proof” standard from McClesky, in which the Court rejected a race

discrimination claim in death penalty sentencing based solely on racial statistical disparities. 481

U.S. at 292-98. Statistical evidence had to meet a higher burden since criminal decisions of that




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type “rest on consideration of innumerable factors that vary according to the characteristics of the

individual defendant and the facts of the particular capital offense.” McClesky, 481 U.S. at 294.

Second, Fuller shows that in using statistical evidence, a plaintiff must still use the statistical

evidence to show he was treated differently than similarly-situated white inmates. 851 F.2d at

1310:

                    However, Fuller failed to provide the “exceptionally clear proof” of
                    discrimination which is required because he did not show that he
                    was similarly situated with white inmates who were paroled. The
                    statistics showing that white murderers are paroled more frequently
                    than black rapists do not appear to be relevant. Fuller makes
                    comparisons between the numbers of black and white rapists
                    paroled on initial, second and third consideration. However, it is
                    unclear which, if any, of these comparisons are relevant because he
                    does not state whether he was denied parole on initial, second or
                    third consideration. The decision to grant parole is based on many
                    factors such as criminal history, nature of the offense, disciplinary
                    record, employment and educational history, etc. Fuller does not
                    show himself to be similarly situated, considering such factors, with
                    any inmates who were granted parole.

Id. (emphasis added). Plaintiffs’ equal protection claim fails for both reasons noted in Fuller. That

is, Plaintiffs’ statistics fail to present “exceptionally clear proof” even when taken at face value,

and Plaintiffs fail to show they are similarly situated in any relevant way to the groups analyzed in

their statistics.

        Plaintiffs first present a chart of discrepancies in parole grants based on race from fiscal

years 2018 through 2023. (Doc. 26-3, Fig. A). But Plaintiffs’ own chart shows that the absolute

difference in grant rates between whites and blacks was less in 2023 (2.0 percentage points) than

in 2018 (3.7 percentage points), even though 2018 was the golden age of parole hearings according

to Plaintiffs. (Id.). While the absolute difference peaked in 2021, it began to narrow in 2022 and

continued to decline in 2023 to less than in 2018. Plaintiffs’ own calculations do not support an




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inference of intentional discrimination because they do not show a trend of widening racial

disparities.

        More important, however, is that Figure A is irrelevant under Fuller. Plaintiffs derived

Figure A simply by identifying the race of the inmate and the parole outcome. (Doc. 26-3 at 4 ¶10).

But, as in Fuller, 851 F.2d at 1310, this fails to take into account a wide variety of individual

circumstances that could result in different parole outcomes for race-neutral reasons. It does not

take into account any of the six factors the Board’s guidelines require it to consider, such as the

risk to reoffend, the severity of the underlying offense, or the inmate’s disciplinary record while in

ADOC custody. See Ala. Code § 15-22-26(a). As a result, the disparities in Figure A prove nothing

because they do not show that similarly-situated inmates of different races receive different

treatment at significantly higher rates. See Fuller, 851 F.2d at 1310 (“The decision to grant or deny

parole is based on many factors such as criminal history, nature of the offense, disciplinary record,

employment and educational history, etc. Fuller does not show himself to be similarly situated,

considering such factors, with any inmates who were granted parole.”). Plaintiffs’ regression

analysis fares no better because it controls only for facility type, fiscal year, sex, and job status.

(Doc. 26-3 at 7 ¶15). Only one of those factors (job status) is even debatably relevant to the factors

the Board considers. See Ala. Code § 15-22-26(a). As a result, Plaintiffs’ statistics on racial

disparities in parole grant rates comes nowhere near the “exceptionally clear proof” required to

prove discriminatory intent.

        Plaintiffs’ racial comparison of grant rates for inmates convicted of violent offenses and

non-violent offenses fails for the same reason,5 but should also be discounted entirely because of



5
  Plaintiffs must concede that even two inmates convicted of violent offenses are not similarly
situated, because “violent offense” is defined in the parole statute to include a wide variety of



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the selective omission of certain years where data is available. Plaintiffs had the data necessary to

demonstrate declining grant rates for both violent and non-violent offenses from 2018 to 2023.

(Doc. 26-3 at 8-9, Fig. C & D). However, when presenting data on racial disparities between grant

rates based on violent and non-violent offenses, Plaintiffs—without explanation—provide

outcomes only for 2018, 2020, and 2022. (Doc. 26-3 at 9-10 ¶¶ 19-20). The disparities in outcomes

for the years Plaintiffs do provide are not significant—certainly not exceptionally clear proof—

and they cannot prove a trend of race discrimination by selectively withholding outcomes for the

years 2019, 2021, and 2023.

       Plaintiffs’ allegations and data on racial disparities for parole reset dates suffer from the

same defects. For an inmate who has been denied parole, the Board may reset future parole

consideration no more than two years out for inmates serving sentences of 20 years or less for

convictions for nonviolent offenses and no more than five years out for all other inmates. See Ala.

Code § 15-22-37(b)(4); ALA. ADMIN CODE r. 640-X-3-.03. The Board has unfettered discretion to

choose a reset date so long as it is within the two and five-year maximums. Similar to Plaintiffs’

data on parole grant rates, Plaintiffs’ data on resets shows an increase of the length of time between

parole considerations for all inmates with varying levels of racial disparity between 2018 and 2023.

(Doc. 26-3 at 12, Fig. E).

       But this data is useless since it compares length of resets based only on the inmate’s race.

See Fuller, 851 F.2d at 1310. Plaintiffs provide no data on racial disparities between similarly-

situated inmates. For instance, Plaintiff Moore is serving a 50-year sentence for murder and has




offenses. See Ala. Code § 12-25-32(15). Plaintiffs themselves state that “Alabama defines ‘violent’
crimes broadly,” and accuse the state of “over-designation of crimes as ‘violent.’” (doc. 23-1 at 90
n.4). But when it comes to racial comparisons, Plaintiffs are content to lump all violent offenders
together and differentiate them only by race.


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incurred more than 20 disciplinary infractions since his time in custody. (Doc. 24-20 at 3; Exhibit

1 at 41-42). The Board’s decision to reset Moore’s parole consideration for the maximum five

years may reflect a reasonable judgment that he should not be considered sooner because he is

unlikely to be granted parole. Such a judgment would rest on race-neutral factors and legitimate

justifications. See Morales, 514 U.S. at 510-11 (holding retroactive increase of length of time

between parole considerations was not ex post facto because it applied only to inmates convicted

of multiple homicides who were unlikely to get parole). Since Plaintiffs’ data on resets does not

compare similarly situated white and black inmates, “the statistical evidence is ambiguous at best

and is ‘clearly insufficient to support an inference that any of the decisionmakers . . . acted with

discriminatory purpose.’” Fuller, 851 F.2d at 1310 (quoting McClesky, 481 U.S. at 297).

       Finally, not only does Plaintiffs’ statistical evidence fall far short of the “exceptionally clear

proof” required by Fuller, but their equal protection claims also fail for the second independent

reason that Fuller’s failed. That is, Plaintiffs “do[] not show [themselves] to be similarly situated,

considering such factors, with any inmates who were granted parole.” Fuller, 851 F.2d at 1310

(emphasis added). Like Fuller, Plaintiffs fail to compare their outcomes with statistical outcomes

for groups of similarly-situated inmates, such as inmates convicted of the same crime, who had

served approximately the same amount of time on their sentence, with the same number of

disciplinaries while in custody, etc. Instead, Plaintiffs compare themselves only insofar as they are

black and had parole denied to inmates who are white and had parole denied from 2018 to 2023.

Plaintiffs cannot ignore an element of their equal protection claim—that they are similarly situated

to inmates who received more favorable treatment, Jones, 279 F.3d at 946-47—and instead rely

on statistical abstractions. In sum, Plaintiffs have not only failed to show that race discrimination




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is occurring generally in parole decisions, but they have also failed to show that race discrimination

has occurred in their cases.

       As an alternative argument, Plaintiffs argue that Defendants’ actions should be analyzed

under the framework of Arlington Heights v. Metropolitan Housing Development Corp., 429 U.S.

252 (1977). (Doc. 23-1 at 40). But the Arlington Heights framework is used to determine whether

statutes have a racially discriminatory purpose and effect. See Greater Birmingham Ministries,

992 F.3d at 1321-22. Plaintiffs do not allege that the 2019 statutory amendments to the parole laws

are unconstitutional. Instead, they allege that Defendants’ “customs and usages” regarding parole

are racially discriminatory. (Doc. 23-1 at 38 n.21). Plaintiffs’ claims should be analyzed under the

specific framework for race discrimination in parole decisions provided by Damiano, Jones, and

Fuller. As already argued, Plaintiffs fail to carry their burden under those cases and their race

discrimination claims fail without regard to the Arlington Heights factors.

       But even assuming Arlington Heights applies to Plaintiffs’ race discrimination claims,

those factors overwhelmingly weigh in Defendants’ favor. The Eleventh Circuit summarized the

Arlington Heights factors as evaluating the following:

               (1) the impact of the challenged law; (2) the historical background;
               (3) the specific sequence of events leading up to its passage; (4)
               procedural and substantive departures; and (5) the contemporary
               statements and actions of key legislators. And, because these factors
               are not exhaustive, the list has been supplemented: (6) the
               foreseeability of the disparate impact; (7) knowledge of that impact,
               and (8) the availability of less discriminatory alternatives.

Greater Birmingham Ministries, 992 F.3d at 1322. Application of these factors shows that the 2019

changes to the parole law were to re-emphasize the importance of public safety in light of specific

incidents of danger to the public.




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       Beginning with factors (2) and (3)—the historical background and sequence of events

leading up to the 2019 law’s passage—Plaintiffs themselves note that Ivey and Marshall’s

advocacy began after “the tragic crime committed by Jimmy Spencer, a white man, after he was

released on parole and evaded supervision.” (Doc. 1 ¶ 91) (emphasis added). Spencer murdered

three people in July 2018, including a seven-year-old boy, after being granted parole. (Doc. 26 at

6 ¶18; Doc. 24-9). According to former Board Chair Head’s declaration, the Spencer murders

occasioned the meeting between Ivey, Marshall, and the Board during which Ivey and Marshall

allegedly expressed concern over the Board granting parole to inmates convicted of violent

offenses. (Doc. 26 at 6-7 ¶¶ 20-23). The historical events leading to Ivey and Marshall’s advocacy

for parole reforms do not support a finding of race discrimination because their advocacy was

occasioned by a murder committed by a white man, with an exceptionally violent past, and they

advocated for the race-neutral value of public safety in considering parole release.

       As to factors (4) and (5)—procedural and substantive departures and contemporary

statements and actions of key legislators—these demonstrate that the 2019 amendments were

passed by the Alabama legislature through the ordinary legislative process. Plaintiffs state that

“Defendant Marshall pushed through a new law (the ‘2019 Parole Amendments’) that gave the

governor unilateral power to appoint the ABPP Executive Director and, as described in Governor

Ivey’s press release, instituted new, ‘strict guidelines for granting a pardon or parole.’” (Doc. 23-

1 at 18). But Marshall, as Attorney General, has no power to “push through,” i.e., enact, a statute—

that power lies only with the Alabama legislature. And the people of the state, acting through their

elected legislators, did amend the parole statute to add that the Board was “to ensure public safety”

in making parole decisions and “that the board’s paramount duty is to protect public safety.” 2019

Ala. Laws Act No. 2019-393 p. 9. The statement on “strict guidelines for granting a pardon or




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parole” attributed by Plaintiffs to “Governor Ivey’s press release” (doc. 23-1 at 18) was actually

made by Representative Connie Rowe, the bill’s sponsor. (Doc. 24-10). Plaintiffs improperly

ignore the independent role of the Alabama legislature in amending the parole law in 2019.

Plaintiffs do not even attempt to argue that the Alabama legislature’s amendments were irregular

or racially motivated, and factors (4) and (5) confirm that the changes were based on concern for

the race neutral value of public safety in light of the Jimmy Spencer incident.

       For factors (1), (6), and (7)—the racial impact of the challenged law, and the foreseeability

and knowledge of racial impact—Plaintiffs provide no evidence that emphasizing the value of

public safety would have a foreseeable disproportionate impact on black inmates. The re-emphasis

on the race-neutral value of public safety was occasioned by murders committed by a white

parolee, Jimmy Spencer. As to the subsequent impact, for the reasons already stated above on

Plaintiffs’ statistics, Plaintiffs have failed to show any racially discriminatory effect because they

do not provide data on outcomes for similarly-situated inmates with respect to parole grant rates

or length of resets. These factors do not support an inference that parole reforms were adopted as

a pretext for race discrimination.

       Finally, as to factor (8)—the availability of less discriminatory alternatives—Plaintiffs

simply advocate an emphasis on other factors that were authorized both before and after the 2019

amendments. (Doc. 23-1 at 43) (“Here, the less discriminatory alternative is the very parole system

and procedures rejected by Defendants, with evidence- and actuarially-based standards that, when

followed, undeniably achieved near racial parity in parole grant rates.”). This reveals, once again,

that Plaintiffs real argument is that the Board is not following Plaintiffs’ preferred interpretation

of state law by giving insufficient weight to risk assessments—a claim that is based on a violation

of state law and therefore barred by Pennhurst. But for equal protection purposes, Plaintiffs




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provide no evidence that near-total reliance on risk assessments is a less discriminatory alternative

for protecting public safety, which is the value re-emphasized by the legislature. Plaintiffs provide

no less discriminatory means of achieving this goal but simply note that reliance on risk

assessments “achieved near racial parity in parole grant rates.” (Doc. 23-1 at 43). Plaintiffs

improperly substitute achieving “near racial parity” in parole outcomes as an end in itself while

ignoring the race-neutral and legitimate goal of protecting public safety. They utterly fail to carry

their burden on this factor.

       In sum, all Arlington Heights factors weigh in favor of Defendants and against a finding

that the 2019 parole reforms had a discriminatory purpose and effect. Even assuming these factors

apply to the context of parole decisions, they fail to support Plaintiffs’ equal protection claim. The

relevant equal protection framework provided by Damiano, Jones, and Fuller compels rejection

of Plaintiffs’ race discrimination claims.

B.     Plaintiffs Cannot Show They Are Facing Imminent Irreparable Harm Due to Their
       Delay in Seeking a Preliminary Injunction.

       “A preliminary injunction requires showing ‘imminent’ irreparable harm.” Wreal, LLC v.

Amazon.com, Inc., 840 F.3d 1244, 1248 (11th Cir. 2016) (citing Siegel v. LePore, 234 F.3d 1163,

1176-77 (11th Cir. 2000)). “[A] party’s failure to act with speed or urgency in moving for a

preliminary injunction necessarily undermines a finding of irreparable harm.” Id. “A delay in

seeking a preliminary injunction of even only a few months—though not necessarily fatal—

militates against a finding of irreparable harm . . . a party’s failure to act with speed or urgency in

moving for a preliminary injunction necessarily undermines a finding of irreparable harm.” Wreal,

LLC v. Amazon.com, Inc., 840 F.3d 1244, 1248 (11th Cir. 2016) (citing cases).




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       All Plaintiffs, except Plaintiff English,6 have waited months, if not years since their last

parole denial, to seek a preliminary injunction on December 21, 2023. (Doc. 23). Plaintiff Ptomey’s

parole reconsideration was extended in fall of 2019 to 2022, and his parole was denied in

September 2022. (Doc. 25 ¶¶ 6-7). His next parole consideration will be in 2025. (Id. ¶ 7). Plaintiff

Campbell’s prior parole was revoked in 2017 when he committed a new offense. (Doc. 25-1 ¶ 3).

His parole has since been denied in 2020 and again on July 12, 2023. (Id. ¶¶ 10-11). His next parole

consideration will be in 2028. (Id.). Plaintiff McDole’s parole was denied in 2018 and on March

23, 2022. (Doc. 25-2 ¶¶ 12-13). His parole will be considered again in 2027. (Id. ¶ 13). Plaintiff

Moore has been serving a 50-year sentence for murder since 1997. (Doc. 24-20 at 3). His parole

was last denied December 2022, and his next parole consideration will be December 2027. (Doc.

25-4 ¶ 9). Plaintiff Cole has been incarcerated for 16 years, and he has been denied parole four

times with his last denial occurring August 8, 2023. (Doc. 25-5 ¶¶ 2, 5).

       Plaintiffs Ptomey, McDole, and Moore all had their last parole denials in 2022—over a

year before seeking preliminary injunctive relief. Plaintiff Campbell’s parole was last denied on

July 12, 2023 and Cole’s on August 8, 2023—over five and four months, respectively, before

seeking a preliminary injunction. In addition to the six Parole Denial Plaintiffs, organizational

Plaintiff TWF also seeks a preliminary injunction. (Doc. 44). TWF Director Lauren Faraino, and

counsel of record, states in her affidavit that TWF has diverted resources to oppose Defendants’

parole practices “[s]ince approximately June 2022.” (Doc. 44-1 ¶ 4). Yet TWF waited until January

4, 2024, 18 months, to seek preliminary injunctive relief.




6
 Plaintiff English’s parole was revoked in 2020 and his parole was denied on November 28, 2023.
(Doc. 25-3 ¶¶ 2, 8). His parole will be considered again on November 28, 2024. (Id. ¶ 9).


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       According to Plaintiffs, the alleged irreparable harm began on October 1, 2019. See (Doc.

23-1 at 51) (seeking provisional certification of all persons “who were denied parole while in the

custody of ADOC at any time after October 1, 2019.”); see also (doc. 23-1 at 57) (requesting

injunction ordering the Board to reconsider parole for everyone denied parole since October 1,

2019). Yet all Plaintiffs, except English, have waited months or years, sometimes being subjected

to Defendants’ allegedly unconstitutional policies repeatedly, before seeking injunctive relief.

Since “a party’s failure to act with speed or urgency in moving for a preliminary injunction

necessarily undermines a finding of irreparable harm,” Wreal, 840 F.3d at 1248, Plaintiffs fail to

carry their burden of establishing a threat of imminent irreparable harm.

C.     Plaintiffs Have Not Shown That the Balance of Harm Weighs in Their Favor or That
       an Injunction Is in the Public Interest.

       Plaintiffs must also show that the threatened injury to them outweighs any harm the

injunction might cause Defendants and that the injunction would not be adverse to the public

interest. Wreal, 840 F.3d at 1247. Where “the government is the party opposing the preliminary

injunction, its interest and harm merge with the public interest.” Swain, 958 F.3d at 1091.

       Here, the harm to Defendants outweighs the threatened injury to Plaintiffs because

Plaintiffs have foregone easier and swifter forms of relief. Plaintiffs have the right to seek common

law certiorari review of the denial of their parole in Alabama state courts. See Tedder v. Ala. Bd.

of Pardons & Paroles, 677 So. 2d 1261, 1262 (Ala. Crim. App. 1996). Failing that, they have the

right to seek federal court habeas review of the denial of their parole or the calculation of their

reset dates to the extent they are seeking an earlier release. See Gwin v. Snow, 870 F.2d 616, 625

(11th Cir. 1989). But rather than pursue these avenues of relief, Plaintiffs instead delayed months

or years after their last parole denial to file this lawsuit. And they chose to bury their parole claims

in a sweeping 126-page lawsuit that names no fewer than 25 defendants, alleging primarily that



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the use of inmate labor is “a modern-day form of slavery.” (Doc. 1 ¶ 1). Plaintiffs’ litigation strategy

seems likely—indeed, calculated—to drag on for years. These are not the actions of Plaintiffs

facing imminent harm, and this should be weighed against them in considering whether to issue

an injunction.

       As to Defendants, the harm caused by the requested injunction would be severe. The public

has an interest in the continued enforcement of the laws validly enacted by their elected

representatives, including the 2019 amendments to the parole statute. Ivey has an interest in Board

members that she appoints exercising their independent judgment free from judicial oversight. Yet

Plaintiffs request the Court to order the Board to reconsider every parole denial since October 1,

2019, at the rate of 1,000 a month, and to compel the Board to exercise its discretion in the way

Plaintiffs want by forbidding the Board from resetting more than 15% of parole considerations

more than two years out and compelling it to parole 80% of inmates scoring “low” or “moderate”

on risk assessments. (Doc. 23-1 at 57). As to Marshall, Plaintiffs request an order forbidding him,

as Attorney General, from carrying out his statutory duty of advocating for victims at parole

hearings. See Ala. Code § 15-23-83. This would have the effect of requiring crime victims—many

of whom still suffer from the trauma of the crimes committed against them—to relive their

experiences by appearing before the Board to represent their own interests without support from

the crime-victims’ advocates supplied to the by the state. Plaintiffs’ requested injunction would

effectively bar Marshall from acting as an advocate for crime victims and speaking on their behalf

through his victim service officers.

       Finally, the equities weigh against Plaintiffs because they request a mandatory injunction,

rather than an injunction that merely seeks to maintain the status quo. Such injunctions “are

particularly disfavored, and should not be issued unless the facts and law clearly favor the moving




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party.” Martinez, 544 F.2d at 1243 (5th Cir. 1976). The standard for an injunction is even higher

in a case like this one where the preliminary injunction will effectively end the dispute by granting

Plaintiffs all conceivable relief. A “heightened showing” is “required where the issuance of the

injunction would provide the movant with substantially all the relief he or she seeks and where the

relief could not then be undone, even if the non-moving party later prevails at trial.” Phillip v.

Fairfield Univ., 118 F.3d 131, 133 (2d Cir. 1997); see also Dakota Indus., Inc. v. Ever Best Ltd.,

944 F.2d 438, 440 (8th Cir. 1991). Absent truly extraordinary circumstances, a “court should not

by mandatory injunction grant temporary relief which will dispose of the case on the merits.” Iron

City Indus. Cleaning Corp. v. Local 141, Laundry & Dry Cleaners Int’l Union, AFL-CIO, 316 F.

Supp. 1373, 1376 (W.D. Pa. 1970). But that kind of relief is exactly what Plaintiffs are seeking

here. (See doc. 23-1 at 56-58). They seek an order requiring the Board to review all parole decisions

since October 1, 2019, and “issue revised parole decisions” that release inmates in 80% of cases

where they score “low” or “moderate” on risk assessments. (Id. at 57). But such decisions could

not be undone once the inmates were released. This counsels against entering an injunction.

D.      The Court Should Not Provisionally Certify the Parole Denial Class or
        Discriminatory Parole Denial Subclass.

        “The class action is an exception to the usual rule that litigation is conducted by and on

behalf of the individual named parties only.” Comcast Corp. v. Behrend, 569 U.S. 27, 33 (2013)

(citation and internal quotation marks omitted); see also Brown v. Electrolux Home Prods., Inc.,

817 F.3d 1125, 1233 (11th Cir. 2016) (“All else being equal, the presumption is against class

certification because class actions are an exception to our constitutional tradition of individual

litigation.” (citing id.)).

        “To come within the exception, a party seeking to maintain a class action ‘must

affirmatively demonstrate his compliance’ with Rule 23[.]” Comcast, 569 U.S. at 33 (quoting Wal-



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Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350 (2011)). Rule 23 of the Federal Rules of Civil

Procedure requires that Plaintiffs satisfy four prongs (numerosity, commonality, typicality, and

adequacy of representation) along with satisfying one of three conditions in subsection (b).

       Plaintiffs ask this Court to provisionally certify a “Parole Denial Class” consisting of “all

incarcerated persons within ADOC’s custody and housed within correctional facilities owned and

operated by ADOC, who were denied parole while in the custody of ADOC at any time after

October 1, 2019[.]” Doc. 23-1 at 51 (citing doc. 1 ¶ 189). They also seek provisional certification

of a “Discriminatory Parole Denial Subclass” consisting of all black members of the Class. Id. Of

the three conditions in subsection (b), Plaintiffs argue that (b)(2) applies to both the Class and

Subclass: that Defendants have “acted or refused to act on grounds that apply generally to the

class.” Doc. 23-1 at 52.

       Because parole decisions are highly individualized, see Ala. Code § 15-22-26, Defendants

have not acted on grounds that apply generally to the Class. Separately, the named Plaintiffs are

not adequate representatives of the Class. They generally fail this prong because their convictions

occurred prior to the JRA—making their ex post facto claim weaker; more specifically, the all-

black named Plaintiffs who have an additional claim cannot adequately represent the non-black

Class members. Thus, this Court should deny Plaintiffs’ request for provisional class certification.

       1.      Plaintiffs fail to satisfy Rule 23(b)(2) because parole decisions are highly
               individualized.

       Claims about highly individualized determinations that consider more than a dozen factors

do not involve Defendants’ “act[ing] or refus[ing] to act on grounds that apply generally to the

class.” “The key to the (b)(2) class is the indivisible nature of the injunctive or declaratory remedy

warranted—the notion that the conduct is such that it can be enjoined or declared unlawful only as

to all of the class members or as to none of them.” Wal-Mart Stores, 564 U.S. at 360 (citation and


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internal quotation marks omitted). It applies “only when a single injunction or declaratory

judgment would provide relief to each members of the class” and “does not authorize class

certification when each individual class member would be entitled to a different injunction or

declaratory judgment against the defendant.” Id. Plaintiffs fail to satisfy 23(b)(2) for two principal

reasons.

        First, Plaintiffs’ ex post facto and equal protection claims allege mutually inconsistent

practices by Defendants and therefore cannot be remedied by the same declaratory and injunctive

relief. Plaintiffs’ ex post facto claim alleges the Board has instituted a de facto ban on parole for

violent offenders in complete disregard for individual inmate’s risk assessment scores. But if that

is so, then the Board is treating all inmates equally, albeit pursuant to a policy that Plaintiffs allege

has the effect of retroactively imposing a harsher punishment. If those are the actions “that apply

generally to the class,” Fed. R. Civ. P. 23(b)(2), then the Board cannot simultaneously discriminate

on the basis of race in making parole decisions. Plaintiffs’ alleged ex post facto violation is

precisely the failure of the Board to make individualized decisions, which is inconsistent with a

simultaneous policy of making parole decisions based on the race of the inmate. If the post-2019

parole policies constitute a per se increase in punishment, then they do not constitute an increase

in punishment just for black inmates. Nor could both the ex post facto and equal protection

violations be remedied with the same declaratory and injunctive relief. A race-neutral ex post facto

policy of retroactively increasing punishment for all inmates cannot be remedied by an injunction

for the Board to cease such conduct only for black inmates. Plaintiffs’ chosen constitutional

theories do not allege the same type of conduct and cannot be remedied through the same

injunction.




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       Second, Plaintiffs have failed to meet Rule 23(b)(2)’s requirements because they do not

allege any common practices of the Board, but instead highlight collective results of highly-

individualized decisions. Parole decisions are highly individualized. Ala. Code § 15-22-26(a)

provides that the Board must determine whether “the prisoner meets criteria and guidelines

established by the board to determine a prisoner’s fitness for parole and to ensure public safety.”

Those guidelines include (but are not limited to): risk of reoffense, reentry planning, stakeholder

and community input, participation in risk-reduction, institutional behavior, and severity of the

underlying offense. Id. at (1)-(6); see also (doc. 26-1 at 2, 3) (listing fourteen reasons for favoring

parole and thirteen reasons favoring denial). Any one of these reasons—to varying degrees or

combinations thereof—could constitute the Board’s basis for denying parole, so Defendants have

not “acted or refused to act on grounds that apply generally to the class.”

       While Plaintiffs allege the Board has acted pursuant to certain “policies,” their evidence

consists only in compiling outcomes of individual decisions. Plaintiffs’ unproven theory regarding

the 2019 Parole Amendments proves the point. As Plaintiffs claim, the 2019 Amendments ushered

in an era where subjective considerations (severity of the offense) dominate over objective

considerations (risk assessments), with even worse outcomes for black prisoners. See, e.g., doc.

23-1 at 9. But if each of the three-member Board applies multiple subjective and discretionary

factors, this necessarily implies they are not acting according to a uniform policy. And as already

argued on the merits of Plaintiffs’ equal protection claim, outcomes that consider only the race of

the inmate and whether parole was denied proves nothing. Plaintiffs themselves demonstrate the

many individualized and race-neutral reasons for different outcomes. For instance, Moore is guilty

of an especially heinous crime—beating a sixteen-month old child to death—that is less severe

when compared to Campbell’s crime (distribution of controlled substance). Yet Campbell, like




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English, was previously granted parole but had parole revoked after committing a new offense. So

while Campbell’s denial of parole may seem incongruous when comparing only his crime with

Moore’s, it is not when taking into account Campbell’s own track record of re-offending after

previously being granted parole. Plaintiffs’ institutional behavior varies widely, with their number

of infractions while in ADOC varying from one to over thirty. Alabama law authorizes the Board

to consider any of these factors—or any combination of these factors—in making parole decisions.

In sum, it is difficult to think of a worse candidate for class certification than parole decisions,

which depend on multiple factors and ultimately rest on the “complete discretion” of the Board.

Ala. Code § 15-22-26(c).

       2.      The all-black named Plaintiffs with convictions that occurred prior to the JRA
               are not adequate representatives of the Class.

       Rule 23(a)(4) requires Plaintiffs to prove that “the representative parties will fairly and

adequately protect the interests of the class.” One part of this inquiry is “whether any substantial

conflicts of interest exist between the representatives and the class[.]” Valley Drug Co. v. Geneva

Pharmaceuticals, Inc., 350 F.3d 1181, 1189 (11th Cir. 2003) (citation omitted); see also Pardo-

Steiman ex rel. Prado v. Bush, 221 F.3d 1266, 1279 (11th Cir. 2000) (explaining that the named

plaintiffs’ incentivizes must “align with those of absent class members so as to assure that the

absentees’ interests will be fairly represented” (citations omitted)).

       The named Plaintiffs’ shared characteristics prevent them from adequately representing

Class members who do not possess those characteristics. First, because all the named Plaintiffs are

black, doc. 1 ¶¶ 146, 148, 149, 150, 151 153, ; see doc. 23-1 at 39, they possess an additional

avenue for relief (their equal protection claim). In other words, no named Plaintiffs represent the

interests of the non-black class members whose only opportunity for relief is through the ex post

facto claim. The named Plaintiffs would have an interest in settling or prioritizing the equal


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protection claim at the expense of the ex post facto claim (and thus the non-black Class members).

And this concern is more founded because the named Plaintiffs have an additional reason to

deprioritize their ex post facto claim. As discussed on the merits of the ex post facto claim, all the

named Plaintiffs’ offenses occurred prior to the implementation of the JRA, so they cannot rely on

the Board’s required consideration of objective criteria like risk assessments that Class members

who committed their offenses between January 30, 2016 and October 1, 2019 could. Because the

named Plaintiffs possess an additional avenue for relief and Plaintiffs are incentivized to prioritize

that additional avenue, they cannot adequately protect the interests of the non-black Class

members.

        Because Plaintiffs fail to satisfy any of the Rule 23(b) conditions or the adequacy

requirement in Rule 23(a)(4), they have failed their burden of proof that this Court should

provisionally certify the Parole Denial Class and the Discriminatory Parole Denial Subclass.7\




7
  Plaintiffs also appeal to the Court’s “inherent equitable authority to issue an injunction extending
relief to all similarly situated individuals.” Plaintiffs’ only support for this request is a citation to
Trump v. Int’l Refugee Assistance Project, 582 U.S. 571, 579 (2017). But the decision merely
“le[ft] the injunctions entered by the lower courts in place with respect to . . . those similarly
situated” non-parties without analyzing whether it was proper to do so. See id. at 579, 581, 582–
83. “Questions which merely lurk in the record, neither brought to the attention of the court nor
ruled upon, are not to be considered as having been so decided as to constitute precedents.” Webster
v. Fall, 266 U.S. 507, 511 (1925); see also Bryant v. Avado Brands, Inc., 187 F.3d 1271, 1280 (11th
Cir. 1999). Rather, “while ‘federal courts possess broad discretion to fashion an equitable remedy,’
that discretion is bounded by both historical practice and traditional remedial principles.” Georgia
v. President of the United States, 46 F.4th 1283, 1303 (11th Cir. 2022) (citations omitted). The
“traditional scope of injunctive relief . . . [is] [t]he extent necessary to protect the interests of the
parties.” Id. (cleaned up) (quoting Keener v. Convergys Corp., 342 F.3d 1264, 1269 (11th Cir.
2003)). This Court should thus reject Plaintiffs’ request for an injunction that spans far beyond
what is needed to provide the named Plaintiffs relief.



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E.     The Court Should Deny Plaintiffs’ Motion for Preliminary Injunction Without
       Holding an Evidentiary Hearing.

       “An evidentiary hearing is required for entry of a preliminary injunction only ‘where facts

are bitterly contested and credibility determinations must be made to decide whether injunctive

relief should issue.’” Cumulus Media, Inc. v. Clear Channel Comms., Inc., 304 F.3d 1167, 1178

(11th Cir. 2002) (quoting McDonald’s Corp. v. Robertson, 147 F.3d 1301, 1312 (11th Cir. 1998)).

If the only dispute regards the inferences to be drawn from the parties’ written submissions, then

the decision to hold an evidentiary hearing lies with the discretion of the Court. Id. In addition, a

party is not entitled to discovery against a governmental official who has asserted immunity. “The

defense of sovereign or qualified immunity protects government officials not only from having to

stand trial, but from having to bear the burdens attend to litigation, including pretrial discovery.”

Blinco v. Green Tree Servicing, LLC, 366 F.3d 1249, 1252 (11th Cir. 2004). As a result, “immunity

is a right not to be subjected to litigation beyond the point at which immunity is asserted.” Howe

v. City of Enterprise, 861 F.3d 1300, 1303 (11th Cir. 2017).

       Plaintiffs’ motion for a preliminary injunction can and should be decided on the parties’

written submissions. Ivey and Marshall have demonstrated the legal insufficiency of Plaintiffs’

claims without the need for an evidentiary hearing. Although Ivey and Marshall dispute many of

Plaintiffs assertions and accusations, there is no need to wade through a sea of witnesses and

exhibits to identify the relevant facts. For the ex post facto claims, the only relevant facts are

Plaintiffs’ dates of convictions and the changes that occurred to Alabama law since their

convictions. For the equal protection claims, Plaintiffs rely solely on the use of statistics, which

fails to carry their burden of alleging they were treated differently than similarly-situated white

inmates on an individual basis. Defendants have also argued that, even if the statistics are taken at

face value, they are irrelevant because they fail to compare similarly-situated inmates. Defendants’



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sovereign immunity, standing, and other procedural defenses present questions of law for the Court

and do not require an evidentiary hearing.

          Ivey and Marshall have also asserted the defenses of sovereign immunity both as to

Plaintiffs’ claims as a whole and as to Ivey and Marshall specifically because they lack the

necessary enforcement connection to the challenged parole policies. The assertion of sovereign

immunity triggers a stay of any further discovery against Ivey and Marshall, including the

necessity of appearing or responding to an evidentiary hearing. See Howe, 861 F.3d at 1302-03. In

addition, the deliberative process and legislative privileges prevent Ivey and Marshall from

disclosing evidence about internal decisionmaking processes or advocacy with the legislature. See

United States Fish & Wildlife Serv. v. Sierra Club, Inc., 592 U.S. 261, 267-68 (2021); In re

Hubbard, 803 F.3d 1298, 1310 (11th Cir. 2015). As a result, they have limited their evidentiary

submissions at this stage to ADOC institutional records relating to Plaintiffs’ dates of conviction

and disciplinary violations and Marshall’s parole objection letters, which are matters of public

record.

          Since Plaintiffs’ motion turns largely on the inferences to be made from the written

submissions and because Ivey and Marshall are entitled to an immunity-based stay of further

proceedings, the Court should resolve Plaintiffs’ motion for a preliminary injunction without an

evidentiary hearing.

                                             Conclusion
          For the reasons stated above, Plaintiffs’ Motion for Preliminary Injunction (doc. 23) and

The Woods Foundation’s Motion for Joinder (doc. 44) in the preliminary injunction should be

denied as well as Plaintiffs’ request for provisional class certification.




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                                 Respectfully submitted,

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                                      Certificate of Service

       I hereby certify that on January 22, 2024, I electronically filed the foregoing with the Clerk

of the Court using the CM/ECF system, which will send notification of such filing to all counsel

of record.

                                                      Brad A. Chynoweth
                                                       Assistant Chief Deputy, Civil Division




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